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   EXHIBIT “H”
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     USDC, ED of PA         American Environmental Ent. v. Manfred Sternberg, Esq., et al.          Tuesday
     No. 2:22-CV-0688 (JMY) Deposition of Daphna Zekaria - UNCERTIFIED TRANSCRIPT              April 2, 2024


                                                                                                   Page 1
 1                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF PENNSYLVANIA
 2                       CIVIL ACTION NO. 2:22-CV-0688 (JMY)
 3      _________________________________
 4      AMERICAN ENVIRONMENTAL
        ENTERPRISES, INC., D/B/A
 5      THESAFETYHOUSE.COM,
 6      Plaintiff,
 7      vs.                                                                  Oral Deposition of:
 8                                                                           DAPHNA ZEKARIA
 9      MANFRED STERNBERG, ESQUIRE, AND
        MANFRED STERNBERG & ASSOCIATES,
10      PC, AND CHARLTON HOLDINGS GROUP,
        LLC, AND SAMUEL GROSS A/K/A SHLOMO
11      GROSS, AND GARY WEISS, AND
        ASOLARDIAMOND, LLC A/K/A ASOLAR,
12      LLC, AND DAPHNA ZEKARIA, ESQUIRE,
        AND SOKOLSKI & ZEKARIA, P.C.,
13
        Defendants.
14      _________________________________
15
                  U N C E R T I F I E D   T R A N S C R I P T of
16      the stenographic notes of the proceedings in the
        above-entitled matter, as taken by and before CAYCE
17      KILEY, a Certified Court Reporter and Notary Public of
        the State of New Jersey, held at Bluestone Country Club,
18      711 Boehms Church Road, Blue Bell, Pennsylvania, on
        Tuesday, April 2nd, 2024, commencing at 12:07 p.m.
19

20
                                        TATE & TATE
21                                Certified Court Reporters
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                                                                   Page 2                                                                     Page 4
  1      A P P E A R A N C E S:                                              1        INFORMATION REQUESTED
  2                                                                          2   DESCRIPTION                          PAGE LINE
  3                                                                          3   Official resignation of Robert Sokolski 21 16
         LIGHTMAN & MANOCHI                                                  4
         BY: GARY P. LIGHTMAN, ESQUIRE                                           Picture                         58 11
                                                                             5
  4      600 Germantown Pike, Suite 400                                                  QUESTIONS MARKED
         Plymouth Meeting, PA 19422                                          6   QUESTION TEXT                  PAGE LINE
  5      (215) 760-3000                                                      7   And when was the last time you   31 19
         garylightman@lightmanlaw.com                                            represented Stacey?
  6      Representing the Plaintiff.                                         8
  7                                                                              Did you represent Stacey Panagakos        33       14
  8                                                                          9   in any legal matter after
         GOLDBERG & SEGALLA                                                      January 1, 2022, when this dispute arose?
  9                                                                         10
         BY: SETH LAVER, ESQUIRE
         1700 Market Street, Suite 1418                                          You're not going to state whether you    37 11
                                                                            11   live with your husband?
  10     Philadelphia, PA 19103-3907                                        12   What's your residence address?         37 14
         (267) 519-6800                                                     13   What are your other email addresses?     38 17
  11     slaver@goldbergsegalla.com                                         14   How long have you lived in your residence 38 23
         Representing the Defendants Manfred Sternberg, Esquire,                 address?
  12     and Manfred Sternberg & Associates, P.C.                           15
  13                                                                             What crime?                       40   10
  14                                                                        16
         REBAR KELLY                                                             Is the first column and part of the     42     1
  15                                                                        17   second column where it talks about
         BY: PATRICK HEALEY, ESQUIRE
         470 Norristown Road, Suite 201                                          an attorney being charged with --
                                                                            18   a New York state lottery winner hiring
  16     Blue Bell, PA 19422
                                                                                 you, making promises to withhold a
         (484) 344-5340                                                     19   portion of her winnings in the firm's
  17     phealey@rebarkelly.com                                                  escrow account and an additional
         Representing the Defendants Sokolski & Zekaria, P.C. &             20   portion on her behalf, and saying you
  18     Daphna Zekaria.                                                         collected a total of 230,000 from the
  19                                                                        21   client transactions; and instead of
  20     A L S O P R E S E N T:                                                  holding the money or investing it, you
  21     Daniel Scully                                                      22   made large transfers to other individuals
  22     Gary Weiss                                                              which she would have not been able to
  23                                                                        23   make without her client's funds.
  24                                                                             Is that a reference to the charges that
                                                                            24   were brought against you?


                                                                   Page 3                                                                     Page 5
  1                INDEX                                                     1    D A P H N A Z E K A R I A,
  2      WITNESS:     DIRECT CROSS                   REDIRECT RECROSS        2        Stating the address 267 Main Street, Second Floor,
  3      DAPHNA ZEKARIA
         BY ATTORNEY LIGHTMAN 6                                              3    Huntington, NY, 11743, having been first duly sworn by a
  4
                                                                             4    Notary Public of the State of New Jersey, was examined
  5
  6                   EXHIBITS                                               5    and testified as follows:
  7      EXHIBIT          DESCRIPTION                      PAGE              6
  8      Exhibit DZ-1     Amended notice of               18
                      deposition                                             7            THE WITNESS: I just wanted to apologize for
  9
                                                                             8     the delay this morning. I -- I'm recently on a
         Exhibit DZ-2       Article                 40
  10                                                                         9     medication that has messed with my sleeping schedule. I
         Exhibit DZ-8       Case summary                 25                 10
  11                                                                               normally wake up without any prompting between three and
         Exhibit DZ-9       WhatsApp messages                 66            11     four in the morning. My plan was to wake up at five,
  12
                                                                            12     six o'clock. And I did set my alarm. I woke up an hour
         Exhibit DZ-10      Text messages                66
  13                                                                        13     late which shifted the balance of train travel by over
         Exhibit DZ-11       Copy of Judge Younge's      100
  14                                                                        14     an hour. I live an hour from Penn Station. So I
                      order dated April 1, 2024
  15     Exhibit DZ-12       Responses and objections of 101                15     appreciate delaying it until now. I just wanted on the
                      defendants Daphna Zekaria,
  16                                                                        16     record for why we started late.
                      Esquire, and Sokolski and
                      Zekaria P.C. to plaintiff's                           17            ATTORNEY LIGHTMAN: Okay. I'd like the record
  17                  interrogatories
  18                                                                        18     to -- thank you for that. I'd like the record to
         Exhibit DZ-13       Responses and objections of 101
                      defendants Daphna Zekaria,                            19     reflect that at approximately 7:30 this morning, Patrick
  19                  Esquire, and Sokolski and
                                                                            20     Healey called me, told me you missed your train and
                      Zekaria P.C. to plaintiff's
  20                  first request for                                     21     wanted to cancel the deposition. I requested that he
                      production of documents
  21                                                                        22     contact you and tell you to take the next train or an
  22              (Exhibits retained by counsel.)                           23     Uber and that we would delay the deposition. He said he
  23
  24                                                                        24     would see what he could do and then called me back and


 2 (Pages 2 to 5)
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                                                                    Page 6                                                                Page 8
  1      said we can start at noon which is fine today. We may               1       A. Not sure. I mean, I don't think so.
  2      have to take you a second time, probably --                         2       Q. Okay.
  3             THE WITNESS: Well, I don't think we will be.                 3       A. I'm going to put it on the record because I'm
  4            ATTORNEY LIGHTMAN: Well, we'll see. But --                    4    not embarrassed about it. I've recently been
  5             THE WITNESS: I know we won't.                                5    hospitalized, in large part due to a lot of things that
  6                  (Overlapping speakers.)                                 6    other people have done. I am not blaming you, Mr.
  7            THE COURT REPORTER: One at a time.                            7    Lightman. But what I am saying is I was recently
  8            ATTORNEY LIGHTMAN: I want to thank Mr. Healey.                8    hospitalized and I'm on medication. Now, does that
  9             THE WITNESS: And I wanted to thank you for                   9    medication -- we spoke about this in the car -- impact --
  10     accommodating the noon appointment. I didn't think you              10         ATTORNEY HEALEY: You don't have to tell him
  11     would suggest that which is why I wanted to reschedule.             11   what we discussed.
  12                                                                         12         THE WITNESS: Well, that's all I'm going to
  13            DIRECT EXAMINATION BY ATTORNEY LIGHTMAN:                     13   say.
  14        Q. Okay. Good morning.                                           14   BY ATTORNEY LIGHTMAN:
  15        A. Good morning.                                                 15      Q. Okay. Does the medication --
  16        Q. Or good afternoon. By the way, the record will                16             (Overlapping speakers.)
  17     reflect the deposition started at 12:07. My name is Gary            17         THE COURT REPORTER: One at a time.
  18     Lightman. And as you're aware, I represent the plaintiff            18             (Overlapping speakers.)
  19     in this case, American Environmental Enterprises doing              19         THE COURT REPORTER: Guys, you're talking at
  20     business as The Safety House. The person seated to my               20   the same time and I'm not going to be able to take this
  21     right is Dan Scully, the principal of the client. At the            21   down --
  22     end of the table, that's Seth Laver. And he represents              22     A. I was literally speaking and you did start this
  23     the Sternberg defendants. To his right is Gary Weiss who            23   out by saying --
  24     you're aware of and so on. I'm going to be asking you a             24             (Overlapping speakers.)


                                                                    Page 7                                                                Page 9
   1      series of questions today.                                         1       A. I don't know. I'm not my own doctor. I don't
   2            First, please make sure you understand my                    2    think it does. But I'm telling you I'm on medication. I
   3      question. If not, let me know and I'll do whatever is              3    was recently hospitalized.
   4      necessary to make my question clear.                               4       Q. Okay.
   5            Second, please answer my question verbally so the            5       A. Not more than a month ago because my medication
   6      court reporter sitting between us can transcribe what              6    is not even a month old.
   7      you're saying. Don't talk over me and I won't talk over            7       Q. What is the medication you're doing?
   8      you. Let one person talk at a time. Please answer each             8       A. I don't even know the name of it.
   9      question as fully and completely and truthfully as                 9       Q. Do you have it in your pocketbook?
  10      possible. It's okay to say "I don't remember" or "I                10      A. Yes, I do. Because I don't know the name of it.
  11      don't recall" if you don't remember an answer to a                 11   It's a generic version of something else.
  12      question or you don't recall. But if you do remember the           12      Q. May I see it, please?
  13      answer and say "I don't remember," that's perjury.                 13      A. No, I'm going to -- I gave it to my attorney.
  14          A. I'm sorry?                                                  14         ATTORNEY HEALEY: Quetiapine,
  15          Q. I said --                                                   15   q-u-e-t-i-a-p-i-n-e.
  16          A. I didn't --                                                 16      A. It impacts --
  17                   (Overlapping speakers.)                               17      Q. It should say the brand name of that -- that
  18          Q. If I ask you a question and you remember an                 18   generic --
  19      answer to a question but tell me "I don't remember" --             19      A. It doesn't. It doesn't. It tells you --
  20          A. Got it. Got it. Got it. It just rolled into.                20                (Overlapping speakers.)
  21          Q. Okay. Are you under the influence of any drugs              21         THE COURT REPORTER: I'm sorry, guys. If you
  22      or medications or suffering from any physical or mental            22   don't all speak one at a time --
  23      disability that would affect your ability to think                 23                (Overlapping speakers.)
  24      logically and clearly, recall past events?                         24         THE COURT REPORTER: -- I won't be able to do


 3 (Pages 6 to 9)
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                                                                Page 10                                                             Page 12
   1     this. I won't be able to take it down or certify it.             1    were about that money, it's already been asked and
   2     So it has to be one at a time.                                   2    answered by many people about this.
   3           THE WITNESS: Right. But he should honor --                 3          What you're not going to do, what I will get up
   4           ATTORNEY HEALEY: Just --                                   4    and walk out -- and I'm happy to get sanctioned if that's
   5                 (Overlapping speakers.)                              5    what you want to try to do. If what you're looking to do
   6           THE COURT REPORTER: I'm just making sure                   6    is be detective for the Suffolk County District Attorney
   7     everyone is clear on this.                                       7    to aid in investigation that I won't participate in, you
   8           ATTORNEY LIGHTMAN: Did you get the spelling of             8    know, to add potentially or create more drama for my
   9     the name?                                                        9    life. As it is, my life isn't good. You don't need to
  10           THE COURT REPORTER: I know the medication,                 10   add to it. She can or cannot add to it. But I won't let
  11     yes. Thank you.                                                  11   you help her add to it.
  12     BY ATTORNEY LIGHTMAN:                                            12         So if you'd like to help your client, I'm willing
  13        Q. Okay. Any other medication?                                13   to do that. Get -- know where the money went. That's
  14        A. No.                                                        14   not a problem. It's never been a problem. We've given
  15        Q. All right. So if I ask you a question and you              15   you most of the records I have. I'm in the middle of
  16     give me an answer, I'm going to assume, first, that you          16   shutting down a practice so I have things everywhere. I
  17     understood my question and, second, are answering it in          17   will have access to a more organized version of my files
  18     accordance with these instructions. Okay?                        18   hopefully within the next two weeks.
  19        A. That's fine.                                               19       Q. Are you finished?
  20        Q. You're represented by an attorney today. That's            20      A. Yeah.
  21     Patrick Healey seated to your left?                              21      Q. Okay. I'm here to talk about the two million
  22        A. Oh, yes.                                                   22   dollars that's -- my client paid and didn't get his money
  23        Q. Okay. And you're aware that you're under oath              23   back for the goods he purchased. If I ask you a
  24     subject to the penalties of perjury?                             24   question -- any question -- you have the absolute right


                                                                Page 11                                                             Page 13
   1        A. I am aware.                                                1    under the law to refuse to answer under the Fifth
   2        Q. Okay. So, for example, you have the absolute               2    Amendment.
   3     right to plead the Fifth Amendment at any time --                3       A. It's not because of the Fifth Amendment --
   4        A. I'm not speaking about pleading the fifth. I'm             4       Q. Please, please let me finish --
   5     speaking about I object because I know that the district         5            ATTORNEY HEALEY: Daphna, let him ask -- let
   6     attorney in Suffolk County is still investigating me and         6     him --
   7     has spoken to you. So I'm not letting -- and my criminal         7    BY ATTORNEY LIGHTMAN:
   8     defense lawyer does not yet know that this is happening          8       Q. If I ask you a question and you assert your
   9     here and today.                                                  9    Fifth Amendment rights -- for example, if I say to you
  10          I wanted to comply to answer questions about                10   "Isn't it true it's raining out?" and you say "I assert
  11     where the money went pursuant to my client's directive           11   my Fifth Amendment rights" --
  12     pursuant to Mr. Sternberg's directive. But anything              12      A. That's ridiculous.
  13     beyond that, it's not about pleading the fifth. I'm not          13                (Overlapping speakers.)
  14     letting discovery happen through you. You're not going           14          ATTORNEY HEALEY: Daphna, let him -- this will
  15     to be using this deposition as a little badge to do              15    go much quicker --
  16     investigative work for the DA where my case is coming up.        16   BY ATTORNEY LIGHTMAN:
  17          If anything, if you don't want just answers to              17      Q. Can you please let me -- if I ask you a question
  18     where the money went -- because I have no problem with           18   like "Isn't is it true that it's raining out" --
  19     that. I never did have a problem with that. But I did            19      A. Am I boring you?
  20     have a problem with things called attorney-client                20         ATTORNEY HEALEY: Daphna, let's focus on the
  21     privilege and having waivers for that, which I understand        21    deposition.
  22     that Mr. Weiss did not give. You can ask him. We're              22   BY ATTORNEY LIGHTMAN:
  23     going to ask him if that's been revised. But where the           23      Q. If I ask you a question like "Isn't it true it's
  24     money went, I'm happy to answer. What the arrangements           24   raining out?" and you answer "I assert my Fifth Amendment


 4 (Pages 10 to 13)
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   1     rights and refuse to answer the question," you have every           1         Q. Have you taken any depositions over your --
   2     right to assert a Fifth Amendment right in response to              2         A. Career?
   3     any question. But if you do that, then I am entitled to             3         Q. -- 30 years of practice?
   4     get the jury to adversely infer from your refusal to                4         A. Well, it's not 30.
   5     answer the question that it is in fact raining outside.             5         Q. How many? When did you start --
   6     That's what the assertion --                                        6       A. No, no. When I graduated law school is '96 or
   7        A. Right.                                                        7    '97.
   8        Q. Please --                                                     8       Q. So almost thirty --
   9                (Overlapping speakers.)                                  9         A. Yeah, yeah.
  10        A. I know the answer. What I'm saying is --                      10        Q. -- it's 17 -- 18 years?
  11                (Overlapping speakers.)                                  11          ATTORNEY HEALEY: Just to clarify the record --
  12        A. I'm objecting not just on Fifth Amendment. On                 12       Q. 20 years?
  13     many grounds. I'm not letting you become the prosecutor.            13          ATTORNEY HEALEY: -- which federal courts?
  14        Q. I don't intend to be.                                         14              (Overlapping speakers.)
  15        A. Right. So my objection is not on Fifth                        15          THE WITNESS: I think it's eastern and
  16     Amendment so that you can or so that she can concoct it             16    southern. And honestly I don't know if I renewed them.
  17     somehow. My objection is on attorney-client privilege.              17    If there was a renewal thing.
  18     It's on Fifth Amendment potentially. We don't even know.            18   BY ATTORNEY LIGHTMAN:
  19     And it's not letting you be the investigator on things              19       Q. In the 27 years practice, have you taken any
  20     that are beyond the scope of where this money went.                 20   depositions?
  21          We gave you proof that Mr. Weiss received money.               21        A. Yeah.
  22     We gave you proof that -- that they had a 65-35 split,              22        Q. How many?
  23     that money went to them, or how it was directed by them.            23        A. I don't know.
  24     And Manfred approved it. Manfred himself said that I am             24        Q. Over 50?


                                                                   Page 15                                                                Page 17
   1     not the blameworthy party.                                          1         A. I don't know.
   2          I never met Manfred actually. I spoke to him a                 2         Q. Okay. Have you --
   3     few times on the phone to say, Is this okay? You know,              3         A. Again I don't know.
   4     should -- you know, should you get authority? He said               4         Q. Have you defended depositions --
   5     we're okay. I have authority. And he gave authority to              5                (Overlapping speakers.)
   6     release the money. What more do you want from me?                   6            THE COURT REPORTER: I'm sorry. One at a time.
   7        Q. Are you finished?                                             7         A. Yes. I've defended and taken.
   8         A. Yeah.                                                        8         Q. Okay. So you're familiar with how this works,
   9        Q. Okay. How long have you been a practicing                     9    right? I'd like to hand you what's been marked --
  10     attorney?                                                           10        A. I mean, in other words, you just said "right"
  11        A. Since 1997.                                                   11   and you didn't wait for my answer and that --
  12        Q. And currently are you in good standing?                       12           ATTORNEY HEALEY: Daphna --
  13        A. Yes.                                                          13   BY ATTORNEY LIGHTMAN:
  14        Q. Okay. And you're licensed in New York?                        14        Q. Are you familiar with how the deposition
  15        A. I'm sorry?                                                    15   procedures work in general?
  16        Q. Are you licensed in --                                        16        A. Not in federal court.
  17        A. Yes.                                                          17        Q. You've never taken a deposition in federal court
  18        Q. -- any other jurisdictions?                                   18   --
  19        A. No.                                                           19        A. Actually no, no.
  20        Q. And have you taken depositions before --                      20        Q. Okay. Never --
  21        A. Well, actually, I'm sorry. Federal would be --                21               (Overlapping speakers.)
  22     yeah.                                                               22           THE COURT REPORTER: I'm sorry. One at a time.
  23        Q. All right. State? Any other state courts?                     23   You need to slow down. I'm not going to be able to take
  24        A. No, no.                                                       24   this down.


 5 (Pages 14 to 17)
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   1     BY ATTORNEY LIGHTMAN:                                        1                 (Overlapping speakers.)
   2         Q. I'd like to hand you what's been marked as            2         Q. And he --
   3     Daphna Zekaria 1.                                            3         A. No, it's just that you're asking it weird, so.
   4               (Exhibit DZ-1 was marked for                       4         Q. And when did he withdraw from Sokolski --
   5               identification.)                                   5                 (Overlapping speakers.)
   6         A. What is this? I just realized I never did --          6            THE COURT REPORTER: Again, wait until the end
   7         Q. I will represent to you that Daphna Zekaria 1 is      7    of the question, please. I'm not going to be able to --
   8     a true and correct copy of the amended notice of             8            THE WITNESS: I apologize.
   9     deposition of Daphna Zekaria, Esquire, and Sokolski and      9    BY ATTORNEY LIGHTMAN:
  10     Zekaria P.C. with requests for production of documents       10        Q. Can you give me an approximation?
  11     that we served on you through your attorney on or about      11        A. I don't have the date. A few months ago. It
  12     March 8th, 2024. Did you see this before?                    12   was to formalize something that happened over a year ago.
  13         A. Not really. I was in the hospital.                    13        Q. What happened over a year ago?
  14         Q. You've never seen it at any time --                   14        A. That he left the firm. He wasn't working there.
  15         A. I've seen it but I have not studied it.               15        Q. So he left the firm over about a year ago --
  16         Q. But you received it before today --                   16        A. Over a year ago and it was to culminate the fact
  17         A. You asked and I answered it.                          17   that he had been absent from the firm for over ten years.
  18         Q. Did you receive it before today?                      18        Q. Why was he absent?
  19         A. I received this page before today.                    19        A. He had been sick. He basically consulted from
  20         Q. Okay. So you received. And are you testifying         20   home on occasion. He was sick. He had an assortment of
  21     here today both individually and as a designated             21   medical conditions. He had his own issues that I can't
  22     representative?                                              22   speak to necessarily. But outside of that, he did
  23         A. I'm the only person in the corporation.               23   consult on some cases.
  24         Q. Mr. Sokolski --                                       24          But when COVID hit we didn't quite shut down but


                                                            Page 19                                                                 Page 21
   1       A. He has not been part of that corporation for            1    we -- well, to back up, we primarily do landlord tenant
   2     over ten years, and he withdrew from it a couple months      2    practice. And the tenant regulations -- format -- the
   3     ago I think.                                                 3    laws for tenant protection changed in 2019. So that
   4       Q. So your answers today are both --                       4    impacted the nature of our long-term business. And after
   5          A. I'm the only one.                                    5    that changed, he worked less. But as that -- even less
   6          Q. Could you please let me finish --                    6    than he did in the ten years prior. But he would work
   7             ATTORNEY HEALEY: Daphna, just wait until he --       7    from home or here and there do some harder case.
   8          Q. -- my question and then I will give you the          8           But when COVID hit and we were shutting --
   9     courtesy of giving an answer without interruption. Okay?     9    contemplating shutting down, we had too many cases to
  10     I'll take your silence as assent.                            10   just simply shut down. So we kind of kept it going to
  11            So you are testifying here today both                 11   see when two weeks became two years would end. And so he
  12     individually and as the designated representative for        12   hasn't really practiced in all this time, but. So he
  13     defendant Sokolski and Zekaria P.C.?                         13   gave official resignation a few months ago I think.
  14        A. Yes, as the only representative.                       14        Q. There's a document evidencing that?
  15        Q. Okay. And when your -- the Sokolski -- Sokolski        15        A. I believe so but I don't have it.
  16     is Gary, was your husband? Sokolski? Robert Sokolski?        16        Q. All right. I request you produce that document
  17       A. I'm sorry?                                              17   --
  18       Q. The Sokolski --                                         18        A. I will --
  19       A. Yes, yes, yes. I didn't know what your question         19           ATTORNEY LIGHTMAN: Every -- Ms. Court
  20     was.                                                         20   Reporter, every time I request a document, can you mark
  21       Q. You're married, right?                                  21   it so that I can go back --
  22       A. Yes.                                                    22        A. Yes, I will get that. He told it to me.
  23       Q. And Robert Sokolski is your husband, right?             23        Q. And you'll give me the document from Robert --
  24       A. Yes, yes, yes.                                          24        A. I have --


 6 (Pages 18 to 21)
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                                                            Page 22                                                                Page 24
   1         Q. -- from Robert Sokolski terminating his                1      A. No.
   2     affiliation with Sokolski and Zekaria, right?                 2      Q. You weren't representing Manfred Sternberg?
   3        A. Yes.                                                    3      A. Manfred Sternberg represented himself.
   4        Q. Is he still practicing law?                             4      Q. So the answer to my question is --
   5       A. He's unsure of what he's going to do. He is              5             (Overlapping speakers.)
   6     uncertain of whether he wants to take on more clients.        6      A. My answer is no.
   7       Q. Okay. Was he still practicing law in 2022 --             7      Q. -- no, you weren't representing him. So the
   8              (Overlapping speakers.)                              8   only person you were representing in connection with this
   9        A. Well, he has no cases at the moment.                    9   deal was Gary Weiss?
  10        Q. Would you please --                                    10     A. Correct.
  11        A. You asked. I answered. I said so -- it's not a         11     Q. Ad when did you first start representing Gary
  12     yes or no.                                                   12   Weiss?
  13        Q. I didn't even finish my question. Please let me        13      A. I don't have that date memorized.
  14     ask the question and then you can answer it. Okay?           14      Q. Did you represent Gary Weiss at all before this
  15        A. Okay.                                                  15   transaction?
  16        Q. Thank you. Was he still practicing law back in         16      A. I represented Gary Weiss in connection with this
  17     2022, January, February, March, at or about the time the     17   transaction and another transaction. And I'm not sure if
  18     events in this case were transpiring?                        18   they were simultaneous or one came before the other.
  19        A. Practicing law? Licensed to. But actually              19      Q. What was the other transaction?
  20     working on the business of Sokolski and Zekaria? Very        20      A. There's another transaction, and I'm going to
  21     far and few between.                                         21   allege and I'm going to -- not -- I'm going to object
  22        Q. Okay.                                                  22   because --
  23       A. He had nothing to do with this case, with               23         ATTORNEY HEALEY: Attorney-client privilege.
  24     probably 95 percent of our cases.                            24      A. -- attorney-client privilege --


                                                            Page 23                                                                Page 25
   1        Q. Did he ever -- who are you representing in             1      Q. Was it a lawsuit?
   2     connection with this transaction?                            2      A. -- which he has not I believe waived.
   3         A. He's right there. Gary Weiss.                         3      Q. Is it a lawsuit?
   4        Q. Gary Weiss. Okay. Were you representing anyone         4      A. He has not -- I -- that's it.
   5     else in connection with this transaction --                  5             ATTORNEY LIGHTMAN: Mark this as DZ-8, please.
   6        A. No, no.                                                6               (Exhibit DZ-8 was marked for
   7        Q. Were you representing Sam Gross --                     7               identification.)
   8         A. No, he had Manfred.                                   8             ATTORNEY LIGHTMAN: Before that, Mr. Weiss, can
   9        Q. Were you representing any of Gary Weiss's              9    she disclose the other matters for which you retained
  10     entities?                                                    10   her?
  11        A. Right. Gary Weiss and whoever his entity would         11            GARY WEISS: This one?
  12     have been which I believe was Asolar.                        12            ATTORNEY LIGHTMAN: No, she said was there
  13       Q. Asolar or Asolar Diamond?                               13   another matter. Before we get to this, can she disclose
  14         A. I call it Asolar. I don't remember the                14   to me the name of that other matter?
  15     actual -- whether it's Asolar, Inc., or Asolar Diamond.      15            GARY WEISS: That other matter which is this --
  16     But I represented Gary Weiss.                                16            ATTORNEY LIGHTMAN: This is the one? All
  17         Q. All right. So when we say Asolar, we're going         17   right.
  18     to refer to Asolar Diamond?                                  18            THE WITNESS: I don't know what you're all
  19         A. We're going to refer to Gary Weiss.                   19   looking at.
  20        Q. Okay. And you weren't representing Sam Gross in        20            ATTORNEY LIGHTMAN: All right. Can she
  21     this deal?                                                   21   disclose it?
  22         A. No.                                                   22            GARY WEISS: This one?
  23        Q. You weren't representing any of Sam Gross's            23            ATTORNEY LIGHTMAN: Is there another one
  24     entities?                                                    24   besides this?


 7 (Pages 22 to 25)
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                                                                 Page 26                                                        Page 28
   1           GARY WEISS: Can you spell the name?                          1       Q. Did you sign the complaint that was filed in
   2           ATTORNEY LIGHTMAN: I will but she said there                 2   this case --
   3     were --                                                            3       A. I don't remember.
   4           GARY WEISS: Can you spell the name, please?                  4       Q. Okay.
   5     I'll answer you.                                                   5       A. I mean --
   6                  (Overlapping speakers.)                               6       Q. Is Robert Sokolski representing the plaintiff in
   7           THE COURT REPORTER: One at a time.                           7   this case?
   8           ATTORNEY LIGHTMAN: Blue River 4747 LLC.                      8       A. Robert Sokolski didn't even draft this pleading.
   9           GARY WEISS: Okay. She can.                                   9       Q. Okay. So your answer is no --
  10           ATTORNEY LIGHTMAN: Okay. Is that the second                 10       A. My -- my --
  11     -- okay.                                                          11                (Overlapping speakers.)
  12     BY ATTORNEY LIGHTMAN:                                             12       Q. -- Robert Sokolski is not representing the
  13        Q. I'd like you to look at --                                  13   plaintiff in this case?
  14        A. Well, how many others are we talking about?                 14       A. No, no. My associate, Mark Davies, at the
  15        Q. Could you look at DZ-8, please.                             15   time -- my associate at the time. He doesn't represent
  16           ATTORNEY HEALEY: Look at this. This is --                   16   now. He doesn't work for me now. But at the time, I
  17        A. I'm sorry.                                                  17   didn't have Robert's help even on the drafting of the
  18        Q. I will represent to you that DZ-8 is a search I             18   complaint.
  19     found online from the New York County Court System, a             19       Q. Does Sokolski and Zekaria have any associates
  20     case summary for Blue River 4747 LLC versus Bullion               20   now?
  21     Trading LLC. And it indicates in the case summary                 21       A. No.
  22     section --                                                        22       Q. Besides Mark Davies, were there any other
  23        A. Yes, this is the case.                                      23   associates that Sokolski --
  24        Q. This is the second case --                                  24       A. Over the years plenty of different rotating


                                                                 Page 27                                                        Page 29
   1        A. Yes.                                                        1    associates.
   2        Q. Let me ask you a question.                                  2       Q. How about from January 1, 2022, to the present?
   3        A. There's no more questions that I will answer.               3      A. I can't be -- I don't want to misspeak. I don't
   4        Q. Well, no. No, no. It's not attorney-client                  4    know.
   5     privilege --                                                      5      Q. All right.
   6        A. Well, it's not --                                           6       A. I mean, I know that Mark Davies may have been
   7            ATTORNEY HEALEY: Let him ask -- let him --                 7    one. But, you know, in giving you an answer on actual
   8        A. It's not relevant.                                          8    dates, we've had other not just attorney associates but
   9                  (Overlapping speakers.)                              9    we have had other legal assistants.
  10            ATTORNEY HEALEY: Stop. Let him answer the                  10      Q. Okay. Did -- Mark Davies you said drafted the
  11      question -- let him ask the question.                            11   complaint --
  12     BY ATTORNEY LIGHTMAN:                                             12     A. I believe he did, yeah.
  13        Q. Look at page 2. Who does it identify as the                 13     Q. So he was working for Sokolski and Zekaria in
  14     plaintiff's attorney?                                             14   2022?
  15        A. Robert Sokolski but I used -- he -- it was -- we            15      A. I believe he was.
  16     recently have had trouble changing it. He set it up over          16      Q. Did he have any involvement in the Gary Weiss,
  17     25 years ago. He is not the attorney of record. I did             17   Sam Gross, Manfred Sternberg, SafetyHouse transactions,
  18     the lawsuit. I drafted it. The NYSCEF that is linked to           18   the subject of my lawsuit?
  19     my Sokolski and Zekaria email address and it's -- he              19     A. No.
  20     created it over 30 years ago or 27 years ago.                     20     Q. And when did --
  21        Q. So Robert -- if I get the actual entry of                   21     A. None of us did.
  22     appearance or the complaint that was filed, it will not           22     Q. How do you spell his last name?
  23     be Robert Sokolski's name? It will be your name --                23     A. Davies?
  24        A. Well, it shouldn't be. It will be me.                       24     Q. Mm-hmm.


 8 (Pages 26 to 29)
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                                                            Page 30                                                                  Page 32
   1      A. D-a-v-i-e-s.                                             1    because it goes so far afield of --
   2      Q. And where is he now?                                     2            ATTORNEY HEALEY: Daphna, let's just --
   3      A. He's for a long time been at another law firm.           3       A. I'm going to --
   4   I'm not sure where he is now --                                4            ATTORNEY HEALEY: -- answer the questions.
   5      Q. In New York City?                                        5       A. You know what? I object.
   6      A. I believe so. I don't know. He left not under            6       Q. Okay. Thank you. Let the --
   7   bad terms but he left to pursue other things.                  7       A. That's it.
   8      Q. Okay. Did you represent Taylor Panagakos at              8            ATTORNEY LIGHTMAN: Every time she refuses to
   9   all?                                                           9    answer --
  10      A. I don't believe so.                                      10               (Overlapping speakers.)
  11      Q. How about Stacey Panagakos?                              11           THE COURT REPORTER: One at a time. I'm not
  12      A. At some point, yes.                                      12   going to be able to certify this transcript soon, guys.
  13      Q. When did you represent Stacey?                           13   You have to speak one at a time or --
  14      A. She had a ticket in Rockefeller Center.                  14               (Overlapping speakers.)
  15      Q. Speeding ticket?                                         15           ATTORNEY LIGHTMAN: Please, Madam Court
  16      A. No. I forget what kind of ticket.                        16   Reporter, every time she refuses to answer, mark that as
  17      Q. Moving violation?                                        17   well.
  18      A. No.                                                      18   BY ATTORNEY LIGHTMAN:
  19      Q. What kind of ticket?                                     19      Q. Did you represent Stacey --
  20      A. I don't remember. You keep asking me --                  20      A. I refuse to answer.
  21          ATTORNEY HEALEY: Daphna, you can just say "I            21      Q. Did you represent Stacey Panagakos at any time
  22    don't remember."                                              22   after January 1, 2022 --
  23          THE WITNESS: I did say that and he keeps                23      A. I refuse to answer.
  24    going --                                                      24      Q. May I please finish my question? Thank you.


                                                            Page 31                                                                  Page 33
   1               (Overlapping speakers.)                            1       A. No because you asked it and I'm answering you
   2         ATTORNEY HEALEY: No comments. This will take             2    that I refuse to answer --
   3    much longer than it needs to.                                 3          ATTORNEY HEALEY: Daphna, let --
   4   BY ATTORNEY LIGHTMAN:                                          4       A. -- about Stacey or about anything beyond this
   5      Q. Is that the only matter in which you represented         5    case with Gary Weiss.
   6   Stacey?                                                        6          ATTORNEY HEALEY: Daphna --
   7      A. No.                                                      7       A. I mean, it has nothing to do with your case.
   8      Q. What other matters?                                      8          ATTORNEY HEALEY: Daphna, let him answer the
   9      A. Are you going to keep cutting me off? Because I          9     question and give the answer you're going to give.
  10   was trying to recall. I think it was something about a         10         THE WITNESS: My answer is an objection.
  11   fence. I don't know. And it was something with the             11         ATTORNEY HEALEY: I understand that. But let
  12   town. And in a foreclosure proceeding. And I think             12    him ask the question.
  13   that's it. I could be wrong.                                   13   BY ATTORNEY LIGHTMAN:
  14      Q. Who is Stacey Panagakos?                                 14      Q. Did you represent Stacey Panagakos in any legal
  15      A. She's Sam Gross's wife I believe.                        15   matter after January twenty -- January 1, 2022, when this
  16      Q. And --                                                   16   dispute arose?
  17      A. Well, not -- or the mother of his child, his             17      A. Objection.
  18   wife. And Taylor --                                            18      Q. You're refusing to answer?
  19      Q. And when was the last time you represented               19      A. I'm refusing to answer on multiple grounds. Not
  20   Stacey?                                                        20   Fifth Amendment or attorney-client privilege or one or
  21      A. I don't know.                                            21   the other. I'm just refusing to answer. Because --
  22      Q. Was it --                                                22      Q. You don't have to give me a reason.
  23      A. And I'm not -- you know what? At this point, I           23      A. Well, I do because you're going to say that I'm
  24   don't think that I'm going to answer any more questions        24   being obstructionist. I'm not. I'm saying I refuse to


 9 (Pages 30 to 33)
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   1   answer because of multiple grounds.                        1    she was part of Charlton Holdings.
   2     Q. Did --                                                2       Q. So your client is Gary Weiss, right?
   3       A. I know she's been investigated. You know, I've      3       A. My client is Gary Weiss who gave authority to
   4   heard that from investigators.                             4    cut 65 percent to him and 35 percent to Gross. And Gross
   5      Q. Did Stacey Panagakos have anything to do with        5    then, who had been a former client -- and that's all I'm
   6   the transactions which are the subject of this lawsuit?    6    asking -- answering -- said I don't want the money
   7     A. This lawsuit I will answer to. Yes.                   7    directly. I owe this one some money and I owe that one
   8     Q. What did she have to do?                              8    some money and the rest can go to my company because they
   9       A. Well, she received checks. I don't know if she      9    owe more money.
  10   had anything to do with the actual negotiation of the --   10      Q. So we'll get to the 65-30. But from the 35
  11   of the transaction between Manfred and your client.        11   percent cut --
  12      Q. Why did she receive checks?                          12      A. He had it divvied up, yes. Yes. And growl at
  13     A. Because she was part of Charlton Holdings.            13   me all you want. Yes, the 35 percent is how they all got
  14     Q. She's a principal of Charlton Holdings?               14   paid. But Mr. Weiss got his 65 percent. Yes. Next
  15     A. What I understood, yes.                               15   question.
  16     Q. How did -- what's your understanding based on?        16      Q. From the 35 percent that you claim was to go to
  17      A. Because she -- apparently the corporate              17   Gross that -- from that distributions from that Sam Gross
  18   formation -- corporate -- excuse me -- formation was to    18   told you to pay Taylor?
  19   include her as the principal.                              19      A. Yes.
  20      Q. Did you see the corporate --                         20      Q. Did he ever tell you to pay Stacey?
  21     A. No.                                                   21      A. Yes.
  22     Q. -- formation documents?                               22      Q. Did he ever tell you to pay anyone other than
  23       A. No. But I was told to write to her because she      23   Taylor or Stacey?
  24   -- either to her or to Charlton.                           24      A. Yes. And you have a list of the checks that I


                                                        Page 35                                                              Page 37
   1     Q. Who told you to write checks to Stacey --             1    was able to find so far. Ron Kuby for legal fees. There
   2      A. Mr. Gross as well as I believe her daughter          2    was a couple of other people that he had owed money to
   3   even.                                                      3    that he wanted it paid directly to them. Midtown Watch
   4      Q. So Stacey -- her daughter's Taylor?                  4    Company stands out because I thought that was odd but I
   5     A. Yes.                                                  5    guess he bought a watch and he owed them money.
   6     Q. So Taylor Panagakos told you to write --              6       Q. Okay. How long you been married to Robert
   7       A. I was told when to write checks, and it was         7    Sokolski?
   8   either to Charlton -- you have the copies of the checks.   8       A. Since '97. And that's all I'm going to answer.
   9   And that's why it was written to them because they were    9       Q. Do you live together?
  10   part of Charlton Holdings.                                 10      A. Objection.
  11       Q. Could you please let me finish my question          11      Q. You're not going to state whether you live with
  12   before you answer? My question is did Taylor Panagakos     12   your husband?
  13   tell you to write checks to Stacey Panagakos?              13      A. I don't need to.
  14      A. She may have. She may have at least in one           14      Q. Okay. What's your residence address?
  15   instance. But I would have been directed when a check      15      A. I'm not giving it to you. You know it.
  16   was written to her or to Stacey or to Charlton or to       16      Q. If I know it, tell me a resident address.
  17   anyone that was the beneficiary of that portion that was   17      A. Objection.
  18   to Mr. Gross.                                              18      Q. You're refusing to disclose your residence
  19      Q. Okay. Who gave you authority to write checks to      19   address --
  20   Taylor -- excuse me -- to Stacey?                          20      A. I'm going to continue to object to every
  21      A. She did at least on one occasion say it's okay       21   question that has nothing to do with where the money
  22   to send to me. He did.                                     22   went.
  23      Q. He meaning?                                          23      Q. Okay.
  24     A. Meaning Sam Gross as -- and that's it. He said        24      A. I answered those questions.


 10 (Pages 34 to 37)
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                                                                Page 38                                                          Page 40
   1      Q. You're refusing to --                                        1    pertains to both --
   2      A. Yes.                                                         2       A. Actually no.
   3      Q. Okay. And what -- do you have any other cell                 3      Q. There's no website for you individually or for
   4   phones other than your one cell phone?                             4    Sokolski and Zekaria?
   5      A. No.                                                          5       A. There shouldn't be.
   6      Q. Okay.                                                        6       Q. And have you ever been convicted of a crime?
   7     A. And you have that number.                                     7       A. No.
   8     Q. And your email address -- do you have any other               8       Q. Have you been accused of a crime?
   9   email addresses other than Sokolski.zekaria --                     9       A. Yup.
  10             (Overlapping speakers.)                                  10      Q. What crime?
  11      A. Yes.                                                         11      A. No. Objection.
  12         THE COURT REPORTER: I didn't hear the end of                 12      Q. Okay. I'd like to show you a document that's
  13    the email address.                                                13   been marked as --
  14      Q. Sokolski.zekaria@mindspring.com. Do you have                 14          (Exhibit DZ-2 was marked for
  15   other email addresses?                                             15          identification.)
  16      A. Yup.                                                         16      A. I'm going to leave soon.
  17      Q. What are your other email addresses?                         17      Q. -- Daphna Zekaria 2.
  18      A. Objection.                                                   18       A. I haven't seen this before. Oh, okay. No, it
  19      Q. Why aren't you answering that?                               19   says two lawyers. And I didn't know what that's about.
  20      A. Because it's a defunct email address that I                  20   I haven't read this.
  21   haven't used in over seven years. And I'm not giving a             21       Q. I will represent to you that this is an article
  22   personal email address to people that just don't have it.          22   I found online that is titled "Two Lawyers Charged with
  23      Q. Okay. How long have you lived in your residence              23   Stealing Money from Former Clients." One attorney
  24   address?                                                           24   accused of taking funds from a state lottery winner and


                                                                Page 39                                                          Page 41
   1      A. Objection.                                                    1   then there's a whole left column and part of the right
   2      Q. Why aren't you telling that?                                  2   column that --
   3      A. Because I don't have to.                                      3       A. I understood it as soon as I actually read it
   4      Q. I believe you do but --                                       4   that it was talking about a different attorney.
   5      A. Okay.                                                         5       Q. Well, it says here separate larceny charges and
   6      Q. -- I'm not going to fight with you.                           6   it says in a separate case Douglas Valente, and then it
   7      A. That's good.                                                  7   goes onto that person, and that's a second lawyer.
   8      Q. And do you have a website?                                    8       A. Well, that's why I got confused when I saw the
   9      A. You would know.                                               9   title.
  10      Q. Do you have a --                                             10       Q. So the first column and part of the second
  11      A. Yes.                                                         11   column -- that's talking about --
  12      Q. -- website? What's the name -- what's the                    12       A. Objection then if you want me to answer
  13   address --                                                         13   questions about it.
  14      A. You mean -- wait. Objection. Are you talking                 14       Q. Is the first column in this article and part of
  15   about for the business?                                            15   the --
  16         ATTORNEY HEALEY: Wait. Daphna, stop. Let me                  16       A. Objection.
  17    clarify, Gary. Is it a website for her law?                       17       Q. Will you please --
  18   BY ATTORNEY LIGHTMAN:                                              18          ATTORNEY HEALEY: Let her answer.
  19      Q. When I say "you," I'm referring to you                       19               (Overlapping speakers.)
  20   personally and as the designated representative of                 20       Q. Let me finish my question.
  21   Sokolski and Zekaria P.C. So if there's --                         21       A. Don't growl and grit your teeth at me.
  22      A. Oh, wait --                                                  22       Q. I'm not growling. You just keep continually
  23      Q. -- a difference -- if there's a difference in an             23   interrupting me. Show some civil courtesy, please.
  24   answer, then please let me know. Otherwise assume it               24   Thank you.


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                                                                Page 42                                                              Page 44
   1        Is the first column and part of the second column             1    received that. I --
   2   where it talks about an attorney being charged with -- a           2       Q. What was the compensation --
   3   New York state lottery winner hiring you, making promises          3       A. I don't remember exactly and I wish I had the
   4   to withhold a portion of her winnings in the firm's                4    retainer agreement because I didn't get paid under that
   5   escrow account and an additional portion on her behalf,            5    retainer agreement because I wound up being told, oh,
   6   and saying you collected a total of 230,000 from the               6    this was -- there was no problem, there was no dispute.
   7   client transactions; and instead of holding the money or           7    So I didn't take money.
   8   investing it, you made large transfers to other                    8         Mr. Weiss got everything that we gave you in the
   9   individuals which she would have not been able to make             9    bank records so I didn't take money back from him.
  10   without her client's funds. Is that a reference to the             10   There's nothing that I believe he's saying -- or at least
  11   charges that were brought against you?                             11   I'm not sure of what he's saying. But what I'm told is
  12      A. Objection.                                                   12   he's saying he didn't receive the money. I don't know
  13      Q. You're not answering the question?                           13   what I'm being told. But he received wires and I've
  14      A. Right.                                                       14   shown the wires and the conversations about getting the
  15      Q. Isn't it true that --                                        15   wires. So he received that money, and I never received
  16       A. Objection. How many --                                      16   money from that money.
  17          ATTORNEY HEALEY: Daphna, stop --                            17        He -- you know, what he did or didn't do with it
  18          THE WITNESS: Well, I'm not going to let him                 18   is beyond that. It would only be speculation on my part.
  19    ask it ten different ways --                                      19   But what I can say is is that after I wired him the
  20               (Overlapping speakers.)                                20   money, I never received money from him. Not in cash, not
  21          THE COURT REPORTER: One at a time. One at a                 21   in wires, not in checks. Not from any entity.
  22    time.                                                             22      Q. How about gems? Did you ever receive gems or
  23               (Overlapping speakers.)                                23   diamonds?
  24          THE COURT REPORTER: I need to take a minute                 24      A. I received -- not as a compensation. I received


                                                                Page 43                                                              Page 45
   1    break.                                                            1    at one point, after he received money, stones to deliver
   2               (Overlapping speakers.)                                2    to Mr. Gross for no particular purpose. I don't know if
   3            ATTORNEY LIGHTMAN: We're taking a break.                  3    they were diamonds, gems, or anything because I didn't
   4                 (Off the record.)                                    4    have them evaluated. I did the favor of meeting in the
   5   BY ATTORNEY LIGHTMAN:                                              5    city whoever he directed. And I've seen some of the
   6      Q. Is it your contention that all of the money that             6    pictures of Starbucks or whatever. That happened. I
   7   was wired to you by Manfred Sternberg was distributed by           7    didn't know it was necessarily for your client. But I do
   8   him?                                                               8    know that it could have been anything.
   9      A. Yes.                                                         9         They did a lot of other business together which
  10      Q. Did you retain or make any money from these                  10   I'm going to stop there. Like I said, I've been
  11   deals?                                                             11   objecting. But it was just -- it could have been
  12      A. Not that I'm recalling but objection. No. Not                12   anything. I don't know what it was. Because if I knew
  13   objection. Withdrawn. Because it has to do with this               13   what it was, it would mean that I would have taken them
  14   deal. With this deal, it's -- I was told to take -- I              14   to a gemologist which I did not do.
  15   had a retainer agreement to take money but I didn't wind           15      Q. Mr. Weiss testified in his deposition that he
  16   up taking money because there was nothing really involved          16   met you at a Starbucks --
  17   in -- I regret that now. But there was nothing really              17      A. He did not. Sorry. I'm sorry. That -- you're
  18   involved.                                                          18   right there. I apologize.
  19          We had a retainer agreement that I've been trying           19      Q. Mr. Weiss testified that he met you at a
  20   to locate. Because I'm cleaning my office and I didn't             20   Starbucks in Center City and gave you four diamonds.
  21   print everything all the time, I did look for it. So               21      A. He did not.
  22   yes. I don't mean to be difficult. But here is where I             22      Q. Did you meet someone on his behalf --
  23   want to talk about there's a retainer agreement that I             23      A. Yes.
  24   would have received significant compensation. I never              24      Q. -- and get four diamonds?


 12 (Pages 42 to 45)
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                                                            Page 46                                                               Page 48
   1      A. Four stones.                                             1       Q. She gave you a package of four stones; you
   2      Q. Did you sign a receipt for those?                        2    signed the receipt --
   3      A. A receipt for stones.                                    3       A. I don't recall if it was four. But I'm sure if
   4      Q. Okay. And what did you do with stones? Did you           4    you say it was four, it was four.
   5   keep them or --                                                5       Q. That's what Mr. Weiss told us.
   6      A. I -- no.                                                 6       A. Maybe but --
   7      Q. What did you do with them?                               7               (Overlapping speakers.)
   8      A. Immediately was going back to Long Island and            8          THE COURT REPORTER: I'm sorry. One at a time.
   9   met Timothy Mahoney who I gave them to.                        9    Slow it down, guys --
  10      Q. And who was Timothy Mahoney?                             10              (Overlapping speakers.)
  11      A. He's someone that was designated by both parties         11   BY ATTORNEY LIGHTMAN:
  12   I believe to deliver them to Mr. Gross.                        12      Q. I apologize. What did you do after this woman
  13      Q. And do you have contact information for Mr.              13   gave you stones and left?
  14   Mahoney?                                                       14      A. Gave it directly in Queens on my way home or
  15      A. Currently no.                                            15   back to Huntington I should say to Timothy Mahoney, who I
  16      Q. How did you meet him?                                    16   just spoke about, as the representative of Charlton.
  17      A. Through Mr. Gross. He was giving them to Mr.             17      Q. And how did you know to deliver the stones to
  18   Gross.                                                         18   Timothy Mahoney --
  19      Q. Right.                                                   19      A. Because I knew that he worked with them.
  20      A. Mr. Mahoney I believe has changed his phone              20      Q. How did you know that?
  21   number. I don't know his phone number. I haven't called        21      A. Because I was told that in the past. And Mr.
  22   him in years.                                                  22   Weiss did not direct me not to give it to a
  23      Q. Do you have his old phone number?                        23   representative. He just said that I could pick these up
  24      A. I can look. Sorry.                                       24   at Starbucks to deliver to Mr. Gross. It was not as an


                                                            Page 47                                                               Page 49
   1           ATTORNEY LAVER: Off the record.                        1    escrow agent. It was not in the capacity of anything.
   2                (Off the record.)                                 2    It's no good deed goes unpunished. I made the delivery
   3   BY ATTORNEY LIGHTMAN:                                          3    from one spot to the other because I happened to be in
   4      A. An old number was --                                     4    the city. I used to work in the city regularly.
   5      Q. What's the number?                                       5        Q. Did Sam Gross tell you to deliver the stones to
   6      A. -- was (516) 402-9872.                                   6    Timothy Mahoney?
   7      Q. Do you have an email --                                  7       A. He said just give them to Timothy and you'll be
   8      A. I have it as Timmy.                                      8    in touch with him.
   9      Q. Do you have an email address?                            9       Q. Okay. Let's go back to the retainer agreement.
  10      A. No.                                                      10   You said there were no funds that you transferred to Gary
  11      Q. All right.                                               11   Weiss that he paid you as a retainer. Were there any
  12           GARY WEISS: Can I ask a question?                      12   funds that Manfred Sternberg wired to you that you
  13           ATTORNEY LIGHTMAN: What? Tell me and I'll ask          13   retained as a fee?
  14    her.                                                          14      A. No.
  15           GARY WEISS: Who is this Timothy Mahoney?               15      Q. None at all?
  16           ATTORNEY LIGHTMAN: I'm going to get to that --         16       A. No. Maybe -- when I said I don't know for sure,
  17               (Overlapping speakers.)                            17   it could be that there would be a residual $5,000. But
  18   BY ATTORNEY LIGHTMAN:                                          18   if it was more than that, it would be amazing because I
  19      Q. Let's go back on the record. The person that             19   was offered money and refused it. Because I said I don't
  20   you met at the Starbucks on behalf of Mr. Weiss -- do you      20   really want to be involved in this. It was too easy, God
  21   remember his name?                                             21   willing. It was not too easy. It ruined my life here.
  22      A. It was a woman, and no.                                  22   But at the time I said no. I mean, it just didn't make
  23      Q. You don't know? Okay.                                    23   sense.
  24      A. I remember it being a woman.                             24         I said if you guys have a good deal and you, you


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   1   know, finished it because that's what Manfred said                1    to Gary --
   2   happened, great. And then a month later I started                 2                 (Overlapping speakers.)
   3   getting calls from investigators on behalf of Mr. Scully          3          THE COURT REPORTER: One at a time, guys. This
   4   and I didn't -- Mr. Napolitano I believe in fact. And I           4    is my last plea here. You need to slow down. It has to
   5   couldn't cooperate at the time because there's                    5    be one at a time --
   6   attorney-client privilege. So I didn't.                           6             (Overlapping speakers.)
   7      Q. Did you delete any emails?                                  7          THE COURT REPORTER: -- or I am not going to be
   8      A. No.                                                         8    able to stay.
   9      Q. Pertaining to this?                                         9    BY ATTORNEY LIGHTMAN:
  10      A. No, no, no.                                                 10      Q. You sent a copy of the retainer agreement to
  11      Q. So you have all the emails, right?                          11   Gary Weiss via email?
  12      A. I have all the emails. But what happened with               12      A. Can I answer now?
  13   my email which I'm trying to recover -- I have no reason          13      Q. Yes.
  14   to delete them. They would only help me. What happened            14      A. Yes.
  15   with my email that -- for a while at least -- is that             15      Q. And you sent a copy of the retainer agreement
  16   there was an auto delete in effect that as you -- when            16   draft to Sam Gross for his review and approval?
  17   you --                                                            17      A. Not that I'm aware of. If I sent it to Sam
  18      Q. I know what auto delete is.                                 18   Gross, it would have been to both of them at once or
  19      A. No, no, no. When I go to open something on an               19   after the fact to say, like, this is done. We're
  20   iPad, it would just delete it. Like, if I was not                 20   representing. I believe I sent to Gary. Gary signed it.
  21   swiping it right. So we recovered some. But it was not            21   But then we texted each other through WhatsApp. And he
  22   even for a long period of time because I didn't use an            22   asked -- in other words, when it was time to wire the
  23   iPad back in that time.                                           23   funds to him, he sent me that information and where to
  24        Long story short, I have at least many hard                  24   send it to on WhatsApp. It would not be in the retainer


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   1   drives to go through to make sure that I can -- I don't           1    agreement.
   2   know which computer would -- I was using at the time.             2       Q. Okay. The retainer agreement -- we'll get to
   3   But the one that was attached to my desk, I know where I          3    the wires in a minute.
   4   was sitting when Gary sent me an email saying it's okay           4       A. Well, no, but I'm saying it's not part of the
   5   to cut the check or release the funds.                            5    retainer agreement.
   6      Q. Which computer were you using?                              6       Q. The retainer agreement -- you emailed that to
   7      A. The one in my front office.                                 7    Gary Weiss --
   8      Q. And do you still have that computer?                        8      A. Definitely.
   9     A. Yeah.                                                        9      Q. And when it was signed by Gary Weiss, you also
  10     Q. And you haven't deleted any emails from that                 10   emailed it to Sam Gross; correct?
  11   computer?                                                         11      A. I don't know. I don't know.
  12      A. No.                                                         12      Q. Okay. And how about --
  13      Q. Okay. Is that --                                            13     A. If I emailed it, it would have been to Charlton
  14     A. No, no, no. That's not a true statement. I                   14   but I don't believe I did. And definitely not to
  15   have never deleted emails? Never deleted emails in                15   Manfred.
  16   connection with this.                                             16     Q. Okay. And --
  17     Q. Okay. And what was the --                                    17     A. Well, definitely is a very strong statement. I
  18      A. I've absolutely deleted emails.                             18   don't believe to Manfred.
  19      Q. Who was your email provider?                                19     Q. And why haven't you been able to locate that
  20     A. Mindspring.                                                  20   email on your server?
  21     Q. Mindspring. Okay. And is that the same                       21      A. Why? I don't -- because of the deleted email
  22   computer you used to draft this retainer agreement?               22   business, and I haven't been able to -- the way I did
  23      A. Yeah.                                                       23   things when I was in the office is sometimes I'd save a
  24      Q. And you sent the draft of the retainer agreement            24   document or I would just email it right from my desktop.


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   1        But I can't find it. And I would love to find                    1       A. I don't remember. I don't -- maybe.
   2   it. I definitely printed it. It's definitely sitting in               2       Q. When you said over a hundred thousand, what's
   3   this stack of crap that's, like, all over my floor, like,             3    the basis for that?
   4   because there was a while where I wasn't printing -- my               4       A. I don't -- I think it contemplated litigation
   5   old practice was every time you send an email or get a                5    potentially between all of -- like, in other words, if --
   6   response, print it, put it in the filing tray, put it in              6    if he didn't get paid but the goods were delivered, you
   7   the file. I didn't do that for a long time because too                7    know, there could have been a reality where he delivered
   8   much was happening by email versus here and there.                    8    and Mr. Scully would have, you know, not authorized
   9      Q. But you remember printing out the retainer --                   9    release of the money.
  10      A. Yes, absolutely.                                                10        See, from all I knew is that Mr. Sternberg had to
  11      Q. You remember printing out this retainer?                        11   authorize it. I didn't have to go to Mr. Scully to get
  12      A. Yes, I do.                                                      12   that authority. So but if -- you know, when -- to back
  13      Q. So it's in a stack of piles somewhere in your                   13   up, when I received the money, Mr. Sternberg asked me for
  14   office --                                                             14   proof that the goods were on the truck. And I said okay,
  15      A. I hope so. Yeah, and I hope to have that by the                 15   I'll get you that, presuming that he would go get
  16   end of the week because I'm going through every piece of              16   whatever authority he needed pursuant to his own contract
  17   paper in my office not just for your purposes but just to             17   to authorize release of the funds.
  18   make sure everything is where it needs to be.                         18        So when I called Mr. -- or contacted Mr. Weiss --
  19      Q. What do you recall sitting here today were the                  19   I don't know if it was by phone or by text or a
  20   terms of payments for your services that were put in the              20   combination. I said they want proof that the goods
  21   retainer?                                                             21   are -- or Manfred wants proof that the goods are on the
  22      A. It was going to originally come out of this but                 22   truck in order to authorize release to you.
  23   it was just an amount that was ridiculous. It was over a              23        Now, I didn't need Mr. Scully to authorize. I
  24   hundred thousand dollars. But it would have contemplated              24   figured that as a licensed attorney in Texas who


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   1   defense of any litigation. And there was no litigation,               1    negotiated the agreement with Mr. Scully that it would be
   2   or at least there wasn't. So I didn't take a fee for the              2    a foregone conclusion that he had whatever mechanisms in
   3   -- for that service.                                                  3    place to authorize the release of the money.
   4        But then when this investigation started to                      4         Anyway, so Mr. Weiss did send a picture of what
   5   happen, I sort of distanced myself from any of it because             5    was on the truck as well as a picture of himself to show,
   6   it was -- I wouldn't want to use the word aggressive, but             6    hey, I'm here and I put it on the truck. That was enough
   7   I didn't know enough about it to participate in it. I                 7    for Mr. Sternberg to say almost immediately -- I wouldn't
   8   felt that it was better directed to Manfred because he                8    say it was within moments -- yes, I'm satisfied. You can
   9   negotiated the entire agreement and knew more about it                9    cut the check to -- or you -- he didn't use those words.
  10   than I did. And it was my understanding that it did                   10   You can release -- you can distribute to Mr. Weiss.
  11   direct to him and he did deal with it for a while.                    11        I didn't immediately distribute to Mr. Weiss,
  12        But I -- you know, at that point I hadn't even                   12   but -- because it was some time at night I remember. And
  13   been in touch with him. I've only spoken to Manfred even              13   the bank wouldn't have been open. So I believe in the
  14   maybe two to maybe three to four times. And more of the               14   next day or two or three, I think I remember it taking a
  15   times that I spoke to him was and after the fact, like,               15   few days till I could get to the bank and do it. But
  16   you know, did you answer Dan's -- like, what's going on               16   then I released to Mr. Weiss based on Mr. Sternberg's
  17   here.                                                                 17   authorization.
  18               (Whereupon server of the country club                     18      Q. I'm going to show you what's been marked as
  19               entered the room.)                                        19   Manfred Sternberg deposition 16. Is that a picture that
  20           ATTORNEY LIGHTMAN: Give me fifteen more                       20   was sent to you by Mr. Sternberg?
  21    minutes.                                                             21      A. By Mr. Sternberg?
  22   BY ATTORNEY LIGHTMAN:                                                 22         ATTORNEY LAVER: Objection.
  23      Q. So was it a lump sum payment that was                           23   BY ATTORNEY LIGHTMAN:
  24   contemplated and set forth in the retainer agreement?                 24      Q. By Mr. Sternberg or Mr. -- who -- was that the


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   1   picture of the goods on the truck that was sent to you             1    Sternberg being the attorney and/or somewhat of a
   2   that you just referred to?                                         2    recipient in -- you know, an investor in this
   3      A. I believe mine might have been a little bit                  3    transaction, he wanted protection from that.
   4   different because there was a picture of Mr. Weiss in it.          4       Q. Who wanted protection?
   5      Q. Okay. So it was a different picture?                         5      A. Mr. Weiss.
   6      A. This is -- yeah.                                             6      Q. Wanted protection from what?
   7      Q. Do you have that picture?                                    7       A. From delivering goods and not being paid for
   8      A. I think we -- I gave it to you.                              8    them.
   9      Q. Pointing to Mr. Healey.                                      9       Q. Okay.
  10      A. Yes.                                                         10      A. So he wanted his own counsel because Mr.
  11      Q. I request that you produce that picture.                     11   Sternberg was not just the attorney for Charlton but also
  12      A. Well, I gave it -- I don't have it other than I              12   a beneficiary of this transaction. So to that extent --
  13   gave it to him from a screenshot.                                  13   is what I'm under the impression of. And again, I
  14      Q. You still should have the screenshot, right --               14   wouldn't have actual knowledge of that. But it's my
  15      A. Well, I didn't -- I don't know.                              15   understanding that Mr. Sternberg did not represent Mr.
  16          ATTORNEY HEALEY: If you do have it --                       16   Weiss at all. And Mr. Weiss needed independent counsel
  17              (Overlapping speakers.)                                 17   to secure that he got paid if the goods were on the
  18          ATTORNEY LIGHTMAN: Mr. Healey, if you have it,              18   truck.
  19    could you produce it?                                             19        So what I was -- what I was told is that I would
  20      A. Either way if I still have it, I'll give it. I               20   have the money held. I wouldn't release the money. I
  21   just don't know if I --                                            21   wasn't asked to sign anything. But even just -- it's --
  22          ATTORNEY HEALEY: If I had it, I would have                  22   without Manfred's authorization, it would have been
  23    produced it.                                                      23   insanity to release anything. But he didn't even ask me
  24          ATTORNEY LIGHTMAN: I figured that.                          24   to sign anything. He just said all I need to do is have


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  1          THE WITNESS: Well, let me look.                              1    proof that the goods are on the truck and then I'll give
  2          ATTORNEY HEALEY: No, no, don't look --                       2    you the okay. And that's what happened.
  3          ATTORNEY LIGHTMAN: We can go back and look. I                3      Q. When --
  4    just made a request.                                               4       A. Whether he needed authority from the
  5          THE WITNESS: No, no, but I don't want --                     5    plaintiff --
  6          ATTORNEY LIGHTMAN: Don't worry about it.                     6          ATTORNEY HEALEY: Daphna, you answered.
  7    We'll deal with documents later.                                   7       A. Yeah, that's it. I don't know.
  8    BY ATTORNEY LIGHTMAN:                                              8       Q. Whether Manfred needed authority from Mr.
  9       Q. So tell me your best recollection of what --                 9    Scully --
  10      A. How --                                                       10      A. I don't know whether he did or he didn't. I
  11      Q. -- services you were supposed to provide in this             11   presume he had it.
  12   retainer agreement?                                                12      Q. You presume that Mr. Sternberg had authority
  13      A. Well --                                                      13   from Mr. Scully to release --
  14      Q. What was your role in the transaction?                       14     A. To release.
  15      A. The role in the transaction --                               15     Q. -- the goods? Okay. And so your role --
  16      Q. Your role.                                                   16     A. Actually he told me he did.
  17      A. Yes. My role was Mr. Weiss was to provide goods              17     Q. Okay. Who told you he did?
  18   and deliver goods by putting them on a truck. He was not           18      A. Mr. Sternberg told me that he had authority once
  19   going to put them on a truck without some security of              19   he had proof that the goods were on the truck.
  20   having the funds available. He didn't I guess know Mr.             20      Q. Okay. When you say the goods were on the truck,
  21   Sternberg enough to -- just because he was negotiating             21   the goods have to be owned by Gary Weiss or his company?
  22   essentially with Mr. Sternberg and Mr. Gross. And                  22      A. I didn't understand the question.
  23   whether he had a good or a bad relationship with Mr.               23      Q. Well, anybody can load goods on the truck. Did
  24   Gross, he didn't know Mr. Sternberg at all. And Mr.                24   the goods have to be owned by Gary Weiss before you would


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   1   release the money?                                                  1    have released the funds and I would have waited for --
   2      A. No. It was not a requirement. And in fact                     2    then I would have had to do one of several things.
   3   there was no requirement. The only requirement was that             3         One would have been to negotiate an outcome
   4   the masks -- those were the goods -- the masks were                 4    between Manfred, the parties involved which includes Mr.
   5   loaded on the truck to be delivered to the plaintiff.               5    Scully, or go to court to, you know, essentially force
   6   Again not a requirement that was made of me.                        6    the issue as this unfortunately has come to be because I
   7        My only answer -- my only comment is is that I                 7    wouldn't have wanted to continue to hold it. I would
   8   told Manfred don't send me money and then leave me                  8    have wanted a determination absent an agreement.
   9   sitting there with it. Either authorize me to release it            9       Q. What your --
  10   or tell me what to do with it. He said, no, there was no            10      A. Because I wouldn't want exactly what's happening
  11   problem. My contract with Safety House only requires                11   here to be happening.
  12   that we deliver, meaning the delivery has to be goods on            12      Q. Your understanding of your role in the
  13   truck.                                                              13   transaction, who is the person that could authorize you
  14        So I asked Mr. Weiss for proof of that. When I                 14   to release the funds from your attorney as per
  15   got a picture of Mr. Weiss in front of a truck, I sent it           15   accounting? Is it Manfred Sternberg?
  16   to Manfred. To me that was like -- well, that may not be            16      A. Manfred Sternberg as well as my client, you
  17   enough in and of itself as proof that you loaded a truck            17   know, subsequent to that. But primarily speaking
  18   with those masks. But I sent it to him and figured that             18   Manfred. Because without his authority, I wouldn't have
  19   he would do his own due diligence as far as his, you                19   done any of it.
  20   know, checking whether the truck was sufficient, whether            20      Q. So if Gary Weiss had said to you "I want the
  21   everything was okay, whether the goods were in fact on              21   funds that Manfred wired to you and Manfred" --
  22   the truck. That was on him.                                         22      A. He did say that. And I said, no, I'm waiting
  23      Q. So you weren't concerned whether or not Gary                  23   for authority.
  24   Weiss had title to the masks that were on the truck?                24      Q. From Manfred?


                                                                 Page 63                                                                 Page 65
   1      A. I was told that Gary Weiss needed to produce                  1       A. Yeah.
   2   goods on a truck -- not to have title to it, not to own             2          ATTORNEY LIGHTMAN: I'm going to take a break
   3   it. Maybe he owned it. Maybe he didn't. Maybe he had a              3    and order some lunch.
   4   partner in it. What I was told is that he had to load               4                 (Off the record.)
   5   goods on a truck. He had to, you know, essentially                  5    BY ATTORNEY LIGHTMAN:
   6   get -- source them and put them on a truck. And what I              6       Q. Ms. Zekaria, in addition to the retainer
   7   understood is that he completed that task.                          7    agreement was supposed to be a -- was there supposed to
   8      Q. Was -- were they N95 masks?                                   8    be a separate escrow agreement that sets forth your
   9      A. I don't know. I wasn't on the truck.                          9    responsibilities and duties when you -- for your receipt
  10      Q. Okay. Were they supposed to be N95 masks?                     10   and subsequent disbursement of the funds --
  11      A. I believe so.                                                 11      A. I don't recall if we were doing it separate or
  12      Q. You believe so?                                               12   together as part of one document.
  13      A. I believe so based on -- not a contract that I                13      Q. So your recollection it's supposed to one --
  14   entered but based on everything that, you know, was part            14      A. I --
  15   of that transaction was that they -- it was for the COVID           15      Q. -- document that sets forth both?
  16   masks.                                                              16      A. No, I just said I don't recall. And you're just
  17      Q. So your role was once Manfred told you we're                  17   putting words in my mouth. Yeah.
  18   satisfied that Gary Weiss has these N95 masks on a truck,           18      Q. Okay. Okay. The -- your duties as an escrow
  19   whether or not he owned them or not, you were authorized            19   agreement, did you require any documentation from Gary
  20   to release funds to Gary Weiss?                                     20   Weiss or Asolar evidencing his purchase of the goods
  21      A. What I was under the impression was that                      21   before you released the funds?
  22   Manfred, an attorney who negotiated the transaction, once           22      A. No.
  23   he authorized the release of funds is when I would do it.           23      Q. Were you required to obtain that
  24   And he did do that. If he didn't do that, I wouldn't                24   documentation --


 17 (Pages 62 to 65)
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                                                              Page 66                                                              Page 68
   1      A. Nope.                                                      1       Q. Okay. And, for example, if you look at DZ-10 --
   2      Q. No. Okay.                                                  2       A. Well --
   3             ATTORNEY LIGHTMAN: Okay. Could we have this            3       Q. If you look at DZ --
   4    marked as DZ-8?                                                 4        A. -- I look at DZ-10 I'm looking at a -- so is --
   5             THE COURT REPORTER: We're up to 9.                     5    are you saying that this and this is the same?
   6             ATTORNEY LIGHTMAN: DZ-9. I'm sorry. 8 was              6       Q. No. I'm trying to finish my question before you
   7    the --                                                          7    answer it. But you interrupted me. So if you look at
   8             ATTORNEY LAVER: The other --                           8    DZ-10 which is Zekaria document 11 where it says "Shlomo,
   9             ATTORNEY LIGHTMAN: The what?                           9    please confirm to her 250K is coming in. She is waiting
  10             ATTORNEY LAVER: Eight was the other case.              10   for it and 130 is yours" and you look at the bottom of
  11             ATTORNEY LIGHTMAN: Eight was the --                    11   the second page of DZ-9, you see where it says -- if you
  12                 (Overlapping speakers.)                            12   find the entry for 3:37.
  13             THE WITNESS: The newspaper article.                    13      A. Wait. What are we talking about?
  14             ATTORNEY LIGHTMAN: Newspaper article, right.           14         ATTORNEY HEALEY: Compare this --
  15    No, that was --                                                 15      A. This to?
  16                 (Overlapping speakers.)                            16      Q. To what's on page 2 of DZ-9, it says --
  17             ATTORNEY LAVER: Eight was the Blue River               17      A. What is all this now?
  18    lawsuit.                                                        18      Q. Well, go to the bottom --
  19             ATTORNEY HEALEY: What's -- did you introduce 3         19       A. Where it says -- no, I mean, you asked me to --
  20    and 4?                                                          20           ATTORNEY HEALEY: Stop.
  21             ATTORNEY LIGHTMAN: Not yet. We'll get to               21      Q. I'm asking a specific question. If you go to
  22    that. Let's have this marked as 9 and 10.                       22   the bottom one, two, three, four, five, six, seven lines
  23               (Exhibits DZ-9 and DZ-10 were marked for             23   or six lines up where it says 2/15 3:37:39 p.m. and it
  24               identification.)                                     24   says "Shlomi"?


                                                              Page 67                                                              Page 69
   1      Q. I'm going to hand you two documents which have             1       A. Please confirm to her --
   2   been marked as DZ-9 and DZ-10. For the record --                 2       Q. Right.
   3      A. I don't know what this is.                                 3       A. Gary, please confirm to her --
   4      Q. For the record, DZ-9 has been marked                       4       Q. Right.
   5   Zekaria000001 through Zekaria 4. And the document --             5       A. So is that --
   6      A. This is the transcription. Okay.                           6       Q. What's printed on DZ-10 --
   7      Q. Yes.                                                       7       A. Oh, oh, is this.
   8      A. No, I just didn't understand the format. I was             8       Q. -- is the same as what's listed on --
   9   asking him.                                                      9       A. They are the same words.
  10      Q. These are documents you produced, so. And the              10      Q. Right. So this screenshot of a text message
  11   document marked as DZ-10 has a Bates stamp Zekaria000011.        11   shown on DZ-10 is transcribed and is --
  12      A. Oh, I thought because I sent it to you like                12      A. I don't know.
  13   this. Okay. Sorry. It just took a minute.                        13      Q. -- the same -- please let me finish.
  14      Q. So would you agree that DZ-9 is a transcription            14      A. You just keep asking me the same thing.
  15   of the WhatsApp messages between you and Gary Weiss and          15         ATTORNEY HEALEY: Daphna, let him finish the
  16   Sam Gross?                                                       16   question.
  17      A. No. I wouldn't agree. Because I don't know. I              17      Q. If you read DZ-10 where Shlomo at 3:37 p.m. is
  18   would have to read it and compare it. But I would assume         18   writing "Gary, please confirm to her 250K is coming in.
  19   that that is what it looks like. I just sat with my              19   She is waiting for it" in parentheses "and 130 is yours,"
  20   attorney asking what this is. And you watched me do              20   that's what this screenshot on DZ-10 indicates; correct?
  21   that.                                                            21      A. When you're done talking, I'm going to take a
  22      Q. These are -- I'm sorry?                                    22   moment. I don't know. I know that these are the same
  23      A. Because I didn't recognize the format or the               23   words with the same time. I didn't prepare what you have
  24   font.                                                            24   labeled as 9. I gave what you have labeled as 10. So if


 18 (Pages 66 to 69)
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                                                             Page 70                                                                 Page 72
   1   you're asking me are these the same words, yes, they are.       1          ATTORNEY HEALEY: No, I can't because I want to
   2      Q. Okay.                                                     2    talk to her outside --
   3      A. But here's the problem. This all seems like a             3               (Overlapping speakers.)
   4   lot more words than this is.                                    4                    (Off the record.)
   5      Q. I agree. DZ --                                            5    BY ATTORNEY LIGHTMAN:
   6      A. So that's why -- that's why I'm having trouble            6       Q. Your counsel asked to speak with you outside.
   7   with it.                                                        7    Did he clear something up for you?
   8      Q. DZ-10 is a screenshot of a portion of what's              8       A. He did.
   9   reflected in DZ-9?                                              9       Q. Okay.
  10      A. Oh, okay. I thought that --                               10      A. I sent him just, like, a whole forward of a
  11      Q. Got it?                                                   11   WhatsApp group. I didn't -- so when I looked at this
  12      A. -- this was supposedly --                                 12   document -- I apologize to you, Mr. Lightman. Because
  13      Q. No.                                                       13   when I'm wrong, I'm wrong. I didn't -- I didn't
  14      A. -- a transcript of this.                                  14   recognize the font or everything that came as a result of
  15      Q. No.                                                       15   it. So I guess what you did counsel, Mr. Healey, is you
  16      A. Well, because I didn't prepare this.                      16   took it and this is how it prints. I didn't know that.
  17      Q. Okay. If you look at --                                   17      Q. So DZ-9, the documents labeled Zekaria 1 --
  18          ATTORNEY HEALEY: Can I talk to her outside a             18      A. It's --
  19    second? It might --                                            19      Q. -- through 5 is a printout of what you forwarded
  20          THE WITNESS: No, it's fine. I'm reading it               20   to your attorney?
  21    now --                                                         21      A. Is what I'm told.
  22          ATTORNEY LIGHTMAN: No, no, no. We're already             22      Q. Okay.
  23    almost done.                                                   23      A. I haven't compared it to what I forwarded but
  24          ATTORNEY HEALEY: No, it might clear a lot of             24   what I'm told is what I forwarded, which I remembered


                                                             Page 71                                                                 Page 73
   1   things up.                                                      1    doing, printout that looks like this.
   2   BY ATTORNEY LIGHTMAN:                                           2       Q. Okay. And if you look at DZ-10 again --
   3      Q. Okay. Ready? If you look at --                            3       A. So then this would be a screenshot of something
   4      A. No. The way this started -- stop for a second.            4    within it.
   5   The way this started was as though I prepared this in my        5       Q. Part of it? Okay.
   6   mind. At least that's the way the question was                  6       A. Yeah.
   7   presented. So when I'm looking at these two, I'm                7       Q. If you look at DZ-10 right above what we talked
   8   thinking that doesn't --                                        8    about where Sam Gross -- that's Shlomi in this, right?
   9      Q. Okay. These are documents that your -- you                9       A. Mm-hmm. Right.
  10   produced for us.                                                10      Q. You recognize Shlomi as Sam Gross --
  11      A. I produced this?                                          11      A. I recognize this group.
  12      Q. Yes. It's labeled Zekaria 1, 2 --                         12      Q. Okay. Right above it, there's cutoff and the
  13          ATTORNEY HEALEY: That's why --                           13   green part at the top of DZ-10 says --
  14      Q. -- 3 --                                                   14      A. Additional --
  15          ATTORNEY HEALEY: Let me --                               15              (Overlapping speakers.)
  16      Q. -- 4, and 5. No, I can clear it up on the                 16      Q. -- for my additional fees? See that? On DZ-10?
  17   record. See at the bottom Zekaria 1, 2, 3, 4, and 5?            17         ATTORNEY HEALEY: On DZ-10, yeah.
  18   These are documents that you produced in discovery in           18              (Overlapping speakers.)
  19   this case.                                                      19         THE COURT REPORTER: One at a time. Guys, I
  20       A. Okay. I gave you --                                      20   cannot take you both down at the same time. I need you
  21          ATTORNEY HEALEY: Well, let me talk to her                21   to slow down --
  22    outside a second. It might clear it all up.                    22              (Overlapping speakers.)
  23          ATTORNEY LIGHTMAN: You can say it on the                 23         THE COURT REPORTER: This is sort of a last
  24    record if you want to clear it up.                             24   warning. I'm still trying to give instructions.


 19 (Pages 70 to 73)
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                                                            Page 74                                                                  Page 76
   1           ATTORNEY LIGHTMAN: Okay. Got it. Start                 1       Q. And then you write "awesome," right?
   2    again.                                                        2       A. Well, because I was sending him 130. I --
   3         THE WITNESS: Where are we?                               3    yeah --
   4           ATTORNEY LIGHTMAN: Let me -- listen to me.             4       Q. You wrote -- you wrote "awesome" here, right?
   5           ATTORNEY HEALEY: He's on DZ-10 --                      5    And then you wrote "Daphna: Thanks for the confirmation
   6              (Overlapping speakers.)                             6    and opportunity to represent you." Do you see that?
   7      Q. If you look at DZ-10 at the top, see where it            7       A. Yes, I do. I agree --
   8   says in green "rest for my" --                                 8       Q. So according to this email exchange
   9       A. Yes.                                                    9    February 15th, you're getting a wire from Manfred of 250.
  10      Q. -- "additional fees?" question mark? And if you          10   You're giving 130 to Gary Weiss. And you're keeping 120
  11   go to DZ-9, right above where the Shlomi Sam Gross --          11   as your fee according to this right here; correct?
  12      A. Yeah, yeah, yeah.                                        12      A. According to this, that's how it looks. But
  13      Q. -- 3:37 email is, it says "rest for my                   13   that's not what wound up happening because there was no
  14   additional fees."                                              14   litigation as a result. If there were to be litigation,
  15      A. Right.                                                   15   then I would have enforced that. Because --
  16      Q. See that?                                                16      Q. Does it say in here --
  17       A. Yes.                                                    17      A. I wish I did enforce that honestly --
  18      Q. And you wrote right above that where Gary Weiss          18      Q. Does it say in here "I'm going to give you back
  19   wrote "Please confirm," you wrote "It's my understanding       19   the 130" anywhere in this email exchange?
  20   that I'm about to receive an additional wire of 250,000        20      A. What was -- what was significant at that moment
  21   which is 130,000 to Gary Weiss and the rest for my             21   was giving him 130. I wound up not using the -- I
  22   additional fees?" question mark. Do you see that?              22   believe it was 120. I have to look at the retainer
  23      A. Yes, I do.                                               23   agreement. And when I find it, I will be able to resolve
  24      Q. So at 3:37 you wrote to that -- you wrote in             24   because I think the original retainer agreement called


                                                            Page 75                                                                  Page 77
   1    this WhatsApp that you're going to get an additional wire     1    for a significant amount that I didn't take.
   2    of 250 and that 130 is to go to Gary and the rest is for      2         And then there was another case that we discussed
   3    your additional fees. Do you see that?                        3    that I also didn't take any money up front. So somehow
   4        A. I do.                                                  4    whatever I may have gotten paid would have just covered
   5        Q. And do you see Gary Weiss -- excuse me -- Sam          5    some time spent on the two cases. But not 130 or 120.
   6    Gross then wrote "Gary, please confirm to her 250K is         6       Q. It's 120 according to your -- the writing here.
   7    coming and she is waiting for it. And 130 is yours." Do       7    Is there anywhere in this text exchange that says "I'm
   8    you see that?                                                 8    giving you back the 120"?
   9        A. Wait. I don't see that. Sorry. Where is                9       A. Well, at that moment no. But there were
  10    the -- wait. Where -- oh, please confirm to her. It's         10   subsequent conversations with them where I said, "I'm
  11    just the way it's -- the way it prints. Meaning I was         11   working for you for free. Why don't you answer these
  12    waiting for the --                                            12   people? Why don't you participate in this case?" I
  13        Q. I'll start again.                                      13   mean, honestly, they should have participated in this
  14        A. No, no, no. I'm reading it now. Just give me,          14   before it got to this. I said it back when you first
  15    like, a hot second so I can -- and then it's Gary --          15   called me. I said it to Gary. I said it to Sam. I said
  16    (reading sotto voce.) Yeah. Okay.                             16   it at the time that Mr. Napolitano called me.
  17        Q. So Shlomi -- Sam Gross -- writes to you "Gary,         17      Q. So there's nothing in writing that --
  18    please confirm to her 250K is coming in. She's waiting        18      A. It was phone calls.
  19    for it. And a 130 is yours." Do you see --                    19      Q. Could you please -- let --
  20        A. Yes.                                                   20              (Overlapping speakers.)
  21        Q. And then Gary writes back "Gary Weiss: Hi,             21         ATTORNEY HEALEY: Let him --
  22    Daphna. That is correct. You're sending me 130.               22              (Overlapping speakers.)
  23    Thanks."                                                      23      A. No, there isn't that I have now --
  24        A. Right.                                                 24         ATTORNEY HEALEY: Let him answer the question.


 20 (Pages 74 to 77)
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                                                           Page 78                                                                Page 80
   1   BY ATTORNEY LIGHTMAN:                                          1       Q. I'm making a record.
   2      Q. There's nothing in writing to document that you          2       A. Okay.
   3   gave them back the 120 that you acknowledged and that          3       Q. And at February 4th at 5:02, Gary Weiss writes
   4   they acknowledged on February 15th you were keeping as         4    to you "Hi, Daphna. I confirm 35 percent of the
   5   your fee?                                                      5    million-nine going to Sam and 65 percent of the
   6      A. I'm not sure.                                            6    million-nine to me, Gary Weiss." Do you see that?
   7      Q. Is there anything in here --                             7       A. Yes, I do and I literally gave you this
   8      A. In this particular exchange, no.                         8    information.
   9      Q. Is there any documentation in any of the 37              9       Q. Why is Sam getting 35 percent of the
  10   documents you produced that confirms you gave them back        10   million-nine transfer?
  11   the 120,000?                                                   11      A. I don't know.
  12      A. I don't know.                                            12      Q. You don't know? Did you confirm or write to --
  13         ATTORNEY LIGHTMAN: All right. This is a good             13   did you notify Manfred "Hey, I know you're wiring a
  14    break for lunch.                                              14   million-nine. My client says he gets 65 percent of it
  15                (Off the record.)                                 15   and 35 percent goes to Sam. Is that okay?"
  16   BY ATTORNEY LIGHTMAN:                                          16      A. It wasn't a requirement to ask Manfred how and
  17      Q. Ms. Zekaria, have you ever met Sam Gross                 17   what to do with the money once it was available for
  18   personally before this morning?                                18   release on behalf of Mr. Weiss. I mean, I just needed
  19         ATTORNEY HEALEY: Gary Weiss.                             19   Mr. Weiss's approval.
  20      Q. Gary Weiss. Excuse me. Have you ever met Gary            20      Q. I thought you said you needed Manfred's
  21   Weiss --                                                       21   approval?
  22      A. No. No.                                                  22      A. I needed Mr. Weiss's approval how to release his
  23      Q. This is the first time --                                23   portion. From my perspective all of it was his unless
  24      A. Yes.                                                     24   otherwise determined.


                                                           Page 79                                                                Page 81
   1      Q. -- in person though? Okay. Let's go back to              1       Q. Okay.
   2   DZ-9, the transcript of the text message, the WhatsApp         2       A. He according to them or what I understood owed
   3   text messages.                                                 3    Sam some money from a prior transaction. Whether that's
   4      A. Where is this? I don't -- oh. Is this the same           4    true or not, I don't know. But they did business with
   5   one that we were looking at?                                   5    each other in the past. And it's not that out of the
   6         ATTORNEY HEALEY: Yes.                                    6    1.9, it was Sam's money per se. It was Gary's money and
   7        THE WITNESS: Okay.                                        7    Gary was giving 35 percent of it presumably to even up
   8     Q. So it starts at the top --                                8    some accounting between them. I don't know if that's
   9      A. No, it's just because I'm still not used to              9    true. All I know is that I represented Mr. Weiss, and
  10   the --                                                         10   Mr. Weiss was to get the 1.9. To do anything but that
  11      Q. Format?                                                  11   needed his consent. And that's why I guess this
  12      A. Yeah.                                                    12   happened.
  13      Q. Okay. So it starts in at the top on                      13      Q. So Manfred was the one that you needed
  14   February 4th in the afternoon --                               14   authorization from to release --
  15      A. Started a call. Yeah.                                    15      A. That I needed, yeah.
  16      Q. -- Gary Weiss started -- or Shlomo, Sam Gross,           16      Q. -- to release the 1.9 million from escrow; Gary
  17   created the group iHealth. Then he added you. Then Gary        17   Weiss is the person that told you how to distribute that
  18   Weiss started a call. And Sam says at 4:54 "Gary, please       18   once Manfred approved?
  19   confirm to Daphna here from the 1.9 million 65 percent is      19      A. Correct. Because but for this, I was given 1.9
  20   yours. The rest is mine. Thanks." Do you see that?             20   to Gary Weiss.
  21      A. Yes, I do.                                               21      Q. Okay. So all you needed --
  22      Q. And that --                                              22      A. All of it.
  23       A. You don't need to read to me. Just tell me what         23      Q. All you needed to get Manfred Sternberg's
  24   to --                                                          24   confirmation is that the masks were loaded on a truck for


 21 (Pages 78 to 81)
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                                                               Page 82                                                                 Page 84
   1   delivery?                                                         1       A. And sugar and whipped cream? Yeah. What?
   2     A. All I needed to get Manfred Sternberg's                      2       Q. Let me finish my questions, please.
   3   confirmation was Manfred saying "You may release it."             3       A. I do.
   4     Q. Okay.                                                        4       Q. No. You said there's other things. There's
   5      A. And that's what he did.                                     5    other victims that have claimed that they were similarly
   6      Q. Okay. He confirmed you can release the                      6    defrauded?
   7   million-nine?                                                     7       A. I'm not saying there's other victims. Don't --
   8     A. Yes. And he in fact is confirming it in                      8    please don't put --
   9   multiple documents that I was not at fault, that he, if           9       Q. Other purchasers of goods --
  10   anything, authorized it. I think I've seen it somewhere.          10      A. And don't put words in my mouth. I really
  11     Q. Where are the documents?                                     11   resent that. I'm saying there's another case where
  12       A. Well, he wrote to the disciplinary committee. I            12   everybody's involved that's involved here by I don't know
  13   saw at some point in one of the motions. The bottom line          13   who it is. But it's someone that I believe that if you
  14   is I don't think he's disputing that he gave me authority         14   want to call them a victim, they would be Safety House's
  15   to release it. He never told me to hold onto it.                  15   victims because Safety House didn't deliver based on
  16   There's a problem.                                                16   whatever they did or did not do here.
  17       Q. As an escrow agent holding the million-nine, you           17        It's my understanding that Safety House was
  18   need some writing as an attorney to authorize you to              18   delivered to. At least that's what I'm told by Manfred,
  19   release --                                                        19   by Mr. Weiss, by Mr. Gross. I don't know that they were
  20      A. Well, he did send an email --                               20   or they weren't. What I'm hearing is that they weren't
  21            (Overlapping speakers.)                                  21   from Mr. Scully, from you.
  22      Q. Please --                                                   22      Q. Is the other victim VRC Medical Supplies?
  23     A. Jesus Christ. I'm telling you that all I needed              23      A. Objection. I don't know if they're a victim.
  24   was him to say go ahead. I don't have an agreement with           24      Q. Is the other purchaser that has raised similar


                                                               Page 83                                                                 Page 85
   1   Mr. Scully saying you are an escrow agent. All I was was          1    claims VRC Medical Supplies?
   2   the place to park the money until Mr. Weiss put goods on          2       A. Objection. I don't know that they are a
   3   a truck. There was no other requirement other than to             3    purchaser. I just know that there's a lawsuit brought by
   4   get Mr. Sternberg's go ahead and green light. That's it.          4    someone named VRC.
   5        I didn't need Mr. Scully's. I didn't even know               5       Q. And you're named as a defendant in that
   6   who he was. I didn't know who he was until months later           6    lawsuit --
   7   when I was called by an investigator. I couldn't answer           7       A. I was later joined in.
   8   the investigator because I have an attorney-client                8       Q. And your law firm is also named as a defendant,
   9   relationship as far as this goes with Mr. Weiss. I                9    right?
  10   couldn't just talk about it. But instead of -- and my             10     A. Well, yeah.
  11   thanks for not talking about it is I was dragged into a           11     Q. And they claimed that they wired 2.4 million to
  12   case I believe that was commenced by someone that he              12   Manfred --
  13   defaulted in an agreement with as a result of whatever            13      A. Not to me.
  14   was going on here.                                                14      Q. -- to Manfred; and that that in turn was wired
  15        Again I didn't have anything to do with this                 15   to you and they never got their good or their money,
  16   case. Manfred negotiated it. Manfred had whatever                 16   right?
  17   contract he had with these people. And it's my                    17      A. I -- I don't know. I -- what I'm saying is is
  18   understanding that it's not limited to this amount of             18   that there is another lawsuit. And I don't know what
  19   money, that there's something more at stake here. Again,          19   funds Manfred used to pay Mr. Weiss. I just know that it
  20   not something I negotiated. I negotiated one piece which          20   resulted in these two lawsuits.
  21   was a retainer agreement with Mr. Weiss to hold money             21      Q. Okay. Why are you saying that the goods that
  22   until he put goods on a truck.                                    22   were supposed to be delivered to Mr. Scully's company
  23      Q. Please, please, pretty please with a cherry on              23   were masks?
  24   top --                                                            24      A. Because it was -- I was told that it was either


 22 (Pages 82 to 85)
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                                                              Page 86                                                           Page 88
   1   masks or COVID test kits. I'm not sure which one. I              1    some of this by one or so." Do you see that?
   2   didn't have anything to do with the delivery.                    2       A. I see it, yes.
   3      Q. Why did you say under oath --                              3       Q. Then you wrote at a minute later "The documents
   4     A. Because it --                                               4    will be dated on February 4th."
   5     Q. -- at today's deposition that it was masks that             5       A. Yes, because I believe that's when we started
   6   were supposed to --                                              6    negotiating this outcome.
   7     A. I believe it was masks. I don't know for sure               7       Q. Okay. So two days later on February 6th you're
   8   because I told you also under oath I wasn't on the truck.        8    talking about drafting a document and backdating it to
   9     Q. Okay. Let's go back to DZ-9.                                9    February 4th; correct?
  10      A. I know that it was COVID-related items.                    10      A. No. The retainer agreement could be dated as of
  11      Q. Let's go to -- so you may have been not telling            11   the date. It doesn't really matter what date is what I'm
  12   the truth when you said masks --                                 12   saying. I'm saying it would be as of 2/4 because I
  13      A. No, I didn't say that. I said I believe. I                 13   believe I started drafting it that day.
  14   didn't ever say I know. And I in fact recall saying that         14      Q. But you're talking about "I will draft."
  15   I don't know for sure because I wasn't, A, on the truck;         15       A. Will finish drafting.
  16   B, I didn't see the items; C, I didn't know who owned            16       Q. No, no, you don't -- at 10:58 you write "I will
  17   what. I believed it was COVID-related, either masks or           17   draft a formal agreement." You don't write "I'm drafting
  18   whatever.                                                        18   it and I need to finish it" --
  19      Q. Go to DZ-9 --                                              19      A. I believe I had started --
  20      A. I don't know -- I don't know what's in the truck           20      Q. You wrote, quote "I will draft a formal
  21   even at the time that he sent the picture of himself in          21   agreement." Do you see that --
  22   front of a truck.                                                22      A. Between them. Not between anyone else.
  23      Q. Go to DZ --                                                23      Q. On --
  24      A. I expected that Manfred would have confirmed it.           24      A. Regarding the three-point -- I'm sorry -- the 35


                                                              Page 87                                                           Page 89
   1          ATTORNEY HEALEY: Just -- go to -- he's asking              1   and the 65 but also in a retainer agreement to
   2    you a question.                                                  2   contemplate what I'm doing for him.
   3      A. Yes. DZ-9.                                                  3       Q. You write on February 6th not "I'm in the
   4      Q. Go to DZ-9, please.                                         4   process." Not it's -- you wrote "I will draft a formal
   5      A. What is the contract -- (reading sotto voce.)               5   agreement." They're your words, right?
   6   I'm reading it myself. Go ahead.                                  6       A. Yeah, I don't remember if I had started it or I
   7      Q. So if you go -- after Gary Weiss writes "I                  7   was finishing it. But, yes, those are my words.
   8   confirm 35 percent of the 1.9 million is going to Sam and         8       Q. You wrote "I will draft," right?
   9   65 percent to me," you wrote "Okay, no problem," right?           9       A. That's --
  10   5:16 on February 4th?                                            10       Q. And then you wrote one, two --
  11      A. Oh, you want me to answer that now?                        11       A. And he gave a retainer --
  12      Q. Yeah. Okay.                                                12       Q. -- three, four -- four lines later on
  13      A. Yes, no problem.                                           13   February 6th you write that the documents will be dated
  14      Q. Then on February 6th, you write at 10:58 a.m.              14   two days earlier on --
  15   "Daphna: I will draft a formal agreement on who I                15       A. Okay. And?
  16   represent and an escrow authorization that mirrors the           16       Q. -- February 4th, right? Correct? That's what
  17   terms of the disbursement that we texted about. What's           17   you wrote --
  18   your current email address?" Do you see that?                    18       A. Correct. That's what it says.
  19      A. Yeah.                                                      19       Q. And then you wrote "And it will be my pleasure
  20      Q. And then he writes -- or you write -- Daphna,              20   to represent you in the future," right?
  21   you write later on at two minutes later "I will speak to         21       A. Yes.
  22   Shlomi" -- that's Sam -- "again before sending                   22       Q. Then a minute later you write "Just need the
  23   everything. I will let you know if I have more                   23   business name that contracted with Manfred, et cetera,"
  24   questions. It's 11 now. I anticipate being ready with            24   right?


 23 (Pages 86 to 89)
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                                                                 Page 90                                                             Page 92
   1      A. Yeah.                                                         1       Q. The wire that you got, the million-nine, was
   2      Q. And that would be Mr. Scully's company,                       2    wired before February 6th --
   3   right? He's the --                                                  3      A. No, I don't believe it was.
   4      A. No.                                                           4         ATTORNEY HEALEY: If it was, it was.
   5      Q. Well, who contracted with Manfred?                            5      A. I don't know. I don't know. But I know that I
   6      A. I need the business name that contracted with                 6    was not releasing it without an agreement between them.
   7   Manfred. That was to both of them. It could have -- I               7      Q. I'm going to show you what's been marked as --
   8   think it was Charlton Holdings that ultimately contracted           8       A. Wait. Hold on. I'm looking at here. Because
   9   through Manfred.                                                    9    this is where --
  10      Q. Okay.                                                         10          ATTORNEY HEALEY: He's going to show you
  11      A. It had nothing to do with Mr. Weiss. It's not                 11    documents, Daphna.
  12   my understanding that Asolar contracted with Mr. Scully.            12          THE WITNESS: Okay. That's fine.
  13   I said I would like to know who's involved in this                  13          ATTORNEY HEALEY: Let him show you the
  14   negotiation.                                                        14    documents.
  15      Q. Then you write two minutes later at 1:03 on                   15   BY ATTORNEY LIGHTMAN:
  16   February 6th "My fee," in quotes, "will include all                 16      Q. Manfred Deposition Exhibit 19. When does it --
  17   negotiations and litigation if necessary that may arise             17   when does it show --
  18   from this transaction" --                                           18      A. Wait. Can you just --
  19      A. Yeah. I -- because I contemplated waiving my                  19      Q. I apologize.
  20   fee because I didn't anticipate a problem.                          20      A. -- stop it for a second. Don't hand me a
  21      Q. Why did you write "My fee," in quotes, "will                  21   document and then speak like we're in a classroom. I am
  22   include litigation if necessary." Did you think that                22   an adult. I'm trying to -- oh, so is this the second
  23   litigation may possibly be necessary?                               23   one?
  24      A. No because I also had a companion litigation                  24         ATTORNEY HEALEY: No, here's --


                                                                 Page 91                                                             Page 93
   1   that was going to come up, and that's why it was                     1          THE WITNESS: Wait. I don't --
   2   laughable because I never got paid for anything here.                2          ATTORNEY HEALEY: -- he's asking you about
   3      Q. But you didn't write from the companion                        3   this.
   4   transaction. You wrote --                                            4      A. Yeah, I don't know what he's asking me about.
   5     A. But I included --                                               5      Q. I'm saying I will represent to you that
   6     Q. Please let me finish. You wrote "My fee" in                     6   Deposition Exhibit Manfred Sternberg exhibit --
   7   quotes --                                                            7      A. Oh, wait this is --
   8       A. Yes.                                                          8      Q. Please stop --
   9       Q. -- "will include all negotiations and litigation              9          ATTORNEY HEALEY: Stop --
  10   if necessary that may arise from this transaction" --               10              (Overlapping speakers.)
  11      A. Correct. I anticipated that they'd be suing                   11          THE WITNESS: I'm talking to you.
  12   each other. Or Manfred.                                             12          ATTORNEY HEALEY: But you don't -- don't.
  13      Q. So Gary and Sam agreed to a 65-35 split of a                  13   Just --
  14   million-nine and you anticipated -- and both of them said           14          THE WITNESS: I'm talking to you while I go
  15   yes, but you anticipated --                                         15   through this. I don't need his voice telling me what
  16      A. It's not --                                                   16   I'm reading. I can read.
  17      Q. -- them suing each other?                                     17      Q. Okay. Well, tell me when you're ready.
  18      A. I anticipated a problem from Manfred potentially              18      A. So take me a --
  19   where we couldn't release the money to Mr. Weiss. And               19      Q. My apologies.
  20   then there would be litigation as a result of that                  20      A. It was sent on the 4th.
  21   between Charlton and Asolar potentially. Or between                 21          ATTORNEY HEALEY: Okay. Let him ask the
  22   Asolar and Manfred. I didn't think that Manfred would               22   question.
  23   say yes right away. I in fact couldn't believe that he              23      A. Okay. Go ahead.
  24   did.                                                                24      Q. I'm showing you Manfred Sternberg Deposition


 24 (Pages 90 to 93)
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                                                        Page 94                                                                Page 96
   1   Exhibit 19 which is a page from the Sternberg defendant's   1    when you were told the wire was made and the wire had --
   2   answers to interrogatories. And it says that on             2       A. No, I don't believe that I was told that any
   3   February 4th, one million nine hundred and eleven           3    wire was made at the time that this was written in fact.
   4   thousand nine hundred and sixty thousand dollars was        4    Let me see. Where am I -- (reading sotto voce.) I just
   5   wired from the Sternberg IOLTA account to the Sokolski JP   5    lost it. Can you point to it?
   6   Morgan Chase account. Do you see that?                      6          ATTORNEY HEALEY: What are you looking for?
   7      A. I see it.                                             7       A. The current -- that statement. I'm just -- oh,
   8      Q. I have a wire transfer confirmation from Mr.          8    right here.
   9   Sternberg's attorney escrow account showing that wire was   9          ATTORNEY HEALEY: 103. Down to 103 --
  10   made on February 4th --                                     10         THE WITNESS: No, no, no.
  11      A. Can you just take your voice down a notch?            11      Q. Two six -- on DZ-9 it's the entry on February --
  12      Q. I'm not yelling. This is my normal tone of            12                 (Overlapping speakers.)
  13   voice --                                                    13      Q. -- 6th at 1:03 --
  14             (Overlapping speakers.)                           14      A. Yeah, I don't think I had the money yet or had
  15       A. No, you're being a jerk right now. Just yes, do      15   any evidence that the money came to me yet.
  16   you have it? Great.                                         16      Q. Okay. So you did get subsequently the 1.9 in --
  17      Q. Okay. So assume that he -- Sternberg wired you        17      A. Subsequently. And then I did --
  18   the money February 4th. Why are you saying "In case         18      Q. So there was no need for you to sue --
  19   Sternberg doesn't wire us the money"?                       19                 (Overlapping speakers.)
  20             (Overlapping speakers.)                           20         THE COURT REPORTER: Guys, again, I can't take
  21          THE COURT REPORTER: One at a time.                   21   this down anymore. I'm really sorry. This is not
  22      Q. I need my, quote, unquote, fee --                     22   working. I cannot certify the transcript.
  23      A. I didn't have it on the fourth. It was, like, I       23            (Off-the-record discussion regarding
  24   believe a Friday. I went back and looked. I believe it      24            unreportable conduct of proceedings.)


                                                        Page 95                                                                Page 97
   1   was a Friday. I didn't know about it until Monday first     1          ATTORNEY LIGHTMAN: The court reporter has
   2   of all. I believe we went over this.                        2    indicated that because of the continuing interruptions
   3      Q. So they --                                            3    that she can't certify the record as an accurate record.
   4          ATTORNEY HEALEY: He's asking you questions.          4    I have asked you numerous times --
   5          THE WITNESS: Yeah. I --                              5          ATTORNEY HEALEY: Well --
   6      Q. They told you that a wire had been made?              6          ATTORNEY LIGHTMAN: Please. You can make a
   7      A. Telling me and doing it are two different             7    statement afterwards, please. I've asked you numerous
   8   things. He needed to confirm that the goods were on the     8    times to please let me finish my questions. It's
   9   truck. That I knew as well.                                 9    apparent that you have not done so, and the record will
  10      Q. So why are you writing -- if you knew there was       10   speak for itself.
  11   a wire in the works, why are you writing I need in case     11      So here's what I'm going to request. Since she's
  12   we have to sue Mr. Sternberg from this transaction?         12   not going to certify the record, we're going to need to
  13      A. Or each other.                                        13   redo this and I'm going to request that the deposition
  14          ATTORNEY HEALEY: Objection. That's not what          14   be recommenced in Judge Younge's courtroom so that he
  15    she said --                                                15   can listen to what's going on and make instant rulings
  16               (Overlapping speakers.)                         16   on the record. Do you agree to that or am I going to
  17      A. That's not what I said.                               17   need to make --
  18          ATTORNEY HEALEY: That's not what's written.          18                 (Overlapping speakers.)
  19      A. All right. Can we move on?                            19         ATTORNEY HEALEY: No, we're not going to agree
  20          ATTORNEY HEALEY: He -- just answer his               20   to that because a lot -- some of the interruptions were
  21   question.                                                   21   due to you also, Gary. You weren't exactly always
  22              (Overlapping speakers.)                          22   waiting for her to finish her answer before you asked a
  23      Q. No. I want to know why you're writing "My fee         23   question. There's -- and I don't like your client
  24   will include litigation as a result of this transaction"    24   sitting here shaking his head. He's not on the record.


 25 (Pages 94 to 97)
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                                                                 Page 98                                                              Page 100
   1    If he wants to be on the record during things, he can be           1          ATTORNEY HEALEY: Stop.
   2    on the record. He can't make any statements on the                 2          ATTORNEY LIGHTMAN: You can leave, but before
   3    record here. If we're going to reconvene, we can                   3    you go --
   4    reconvene. But it's -- there's fault on both sides.                4          THE WITNESS: I'm leaving. This is enough.
   5          ATTORNEY LIGHTMAN: So you're refusing to do it               5    This is abusive already.
   6    in front of Judge Younge and in his court --                       6          ATTORNEY LIGHTMAN: I'd like this marked as --
   7          THE WITNESS: I'm refusing to do it in front of               7          THE WITNESS: Can we close the record --
   8    Judge Younge. We can reconvene at another time and do              8                  (Overlapping speakers.)
   9    the deposition not in the courtroom.                               9          ATTORNEY HEALEY: Daphna, sit and let me talk.
  10          ATTORNEY LIGHTMAN: It's not going to work                    10         ATTORNEY LIGHTMAN: I'd like this marked as
  11    because I have asked her countless times to stop                   11   Daphna DZ-11.
  12    interrupting me, and she refuses to do that.                       12         THE WITNESS: What is that?
  13          ATTORNEY HEALEY: And you haven't been all --                 13         ATTORNEY HEALEY: Stop.
  14    you haven't been innocent in this game either.                     14         ATTORNEY LIGHTMAN: I'd like this marked.
  15          ATTORNEY LIGHTMAN: I think you can count on                  15         ATTORNEY HEALEY: I'm going to object to any
  16    one hand the times that I've interrupted her. But I                16   marking of exhibits since the court reporter said she
  17    think --                                                           17   can't certify the transcript --
  18               (Overlapping speakers.)                                 18         ATTORNEY LIGHTMAN: She doesn't need to --
  19          THE COURT REPORTER: You're doing it right now.               19         ATTORNEY LAVER: I join that objection.
  20    Excuse me. I'm sorry. That's it. The statements have               20         ATTORNEY HEALEY: Yeah. And if there are --
  21    been made. If you want to put anything else on the                 21         THE WITNESS: Can you --
  22    record, it will be one at a time and then I'm leaving.             22         ATTORNEY HEALEY: Stop. Stop. Daphna, stop.
  23    Thank you.                                                         23         ATTORNEY LIGHTMAN: Mark these as 11 and 12.
  24          ATTORNEY LIGHTMAN: I think that you can count                24         ATTORNEY HEALEY: I will object to their


                                                                 Page 99                                                              Page 101
   1    on one hand the times I may have interrupted her but I             1    admission because she said she can't certify the
   2    think you would need the hands and fingers of everyone             2    transcript.
   3    in this courtroom -- in this room to count the number of           3          ATTORNEY LAVER: I join.
   4    times that she's interrupted. So I'm asking --                     4          ATTORNEY HEALEY: Okay. And you're also -- I
   5          THE WITNESS: Are you --                                      5    object to the admission of DZ-11 because it is a court
   6               (Overlapping speakers.)                                 6    order. It's already filed. It's on the docket. Your
   7          ATTORNEY LIGHTMAN: -- I'm going to make a                    7    motion got granted. It doesn't need to be attached as
   8    motion if you don't agree. I think when the judge sees             8    an exhibit. And we would object to any --
   9    this transcript, he's going to order it but you can save           9          GARY WEISS: Can I ask one question?
  10    some time and some money.                                          10         ATTORNEY LIGHTMAN: Hold on. I need to create
  11          ATTORNEY HEALEY: Well, you know you can make                 11   my record.
  12    all the statements you want. I've been in other                    12         ATTORNEY HEALEY: Well, you can't create the
  13    depositions where you've mischaracterized testimony and            13   record. We don't have a court reporter that's going to
  14    evidence. I'm not going to get into it right now. But              14   certify it.
  15    I think there's fault on both sides. We would agree to             15         ATTORNEY LIGHTMAN: This is -- I don't need it
  16    come back at another time to be deposed. We're not just            16   certified. This is 12 and 13.
  17    going to roll over and decide, like, oh, yeah, you want            17            (Exhibits DZ-12 and DZ-13 were marked for
  18    to do it in front of Judge Younge in his courtroom. No.            18            identification.)
  19          THE WITNESS: I'm happy to come back. I'm                     19         THE WITNESS: But we have no --
  20    happy to continue now --                                           20         ATTORNEY HEALEY: Stop. Stop.
  21          ATTORNEY HEALEY: Stop. Daphna, stop. That's                  21         GARY WEISS: Can I ask one question, please?
  22    it.                                                                22         ATTORNEY LIGHTMAN: Not yet. Mr. Healey, I've
  23          ATTORNEY LIGHTMAN: Before we go --                           23   handed you three documents. The first document marked
  24          THE WITNESS: I'm leaving.                                    24   as DZ-11 is a copy of Judge Younge's order dated


 26 (Pages 98 to 101)
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                                                                 Page 102                                                               Page 104
   1    April 1, 2024, docket number ECF158 that grants                     1    questions -- or the responses. Excuse me. Many of the
   2    plaintiff's motion to compel discovery from defendants              2    responses of the Zekaria defendants to the
   3    Daphna Zekaria, Esquire, and Sokolski and Zekaria P.C.              3    interrogatories states that after the objection and that
   4    and directs in paragraph two within ten days from the               4    it's over broad and unduly burdensome and beyond the
   5    date of this order, which is April 1st, each of the                 5    scope. And it also says as it -- quote, "as it deals
   6    Zekaria defendants shall deliver to plaintiff full and              6    with matters protected by the attorney-client
   7    complete verified answers to plaintiff's interrogatories            7    privilege," end quote.
   8    addressed to them without objections.                               8        I note for the record that there was no privilege
   9       Paragraph three of Judge Younge's April 1st order                9    lock produced by the Zekaria defendants that identified
  10    says within ten days of the date hereof, each of the                10   any of the documents or any of the areas that allegedly
  11    Zekaria defendants shall produce and deliver to                     11   are protected by the attorney-client privilege contrary
  12    plaintiff their written responses together with all                 12   to not only the instructions accompanying these
  13    documents responsive to plaintiff's request for                     13   discovery requests but the rules of court. I would note
  14    production of documents addressed to them without                   14   for the record that the responses of the Zekaria
  15    objections.                                                         15   defendants dated March 29 and produced March 30th are
  16       DZ-12 is a copy of the responses and objections of               16   not in compliance with Judge Younge's April 1st order.
  17    the defendants Daphna Zekaria, Esquire, to plaintiff's              17       I note for the record in fairness to Mr. Healey that
  18    --                                                                  18   they were produced before Judge Younge issued his order.
  19           ATTORNEY HEALEY: Which one? Twelve?                          19   I would respectfully request on the record that DZ-12
  20           ATTORNEY LIGHTMAN: -- twelve -- plaintiff's                  20   and DZ-13 be amended and that in the supplemental
  21    first request for production of documents.                          21   responses that there's full and complete compliance with
  22           ATTORNEY HEALEY: Twelve is the                               22   Judge Younge's order.
  23    interrogatories.                                                    23          THE WITNESS: What's 12 and 13?
  24           ATTORNEY LIGHTMAN: I'm sorry. Twelve is the                  24           ATTORNEY HEALEY: Stop.


                                                                 Page 103                                                               Page 105
  1    interrogatories. My apologies.                                       1            THE WITNESS: No. I'm just --
  2          ATTORNEY HEALEY: No problem.                                   2            ATTORNEY HEALEY: It's our discovery responses.
  3          ATTORNEY LIGHTMAN: Twelve is the responses and                 3            THE WITNESS: Okay.
  4    objections of defendants Daphna Zekaria, Esquire, and                4            ATTORNEY HEALEY: The discovery responses were
  5    Sokolski and Zekaria P.C. to plaintiff's first -- to                 5    sent to you prior to the judge's order so I don't know
  6    plaintiff's interrogatories. And for each of the -- I'm              6    how they cannot be in compliance with the order because
  7    sorry -- the verification's dated March 29 and this was              7    the order wasn't issued until after they were produced.
  8    sent to me I believe on March 30th. Each of the                      8    I will tell you we will be in compliance with any court
  9    questions starts out -- each of the responses of the                 9    order issued.
  10   Zekaria defendants starts out, quote, "objection," end               10           ATTORNEY LIGHTMAN: That's all I needed to
  11   quote. The --                                                        11   hear.
  12         ATTORNEY HEALEY: Well, there's more to it than                 12           ATTORNEY HEALEY: I will also note that this is
  13   that but --                                                          13   kind of a little bit of grandstanding here since we
  14         ATTORNEY LIGHTMAN: I'm just creating a record.                 14   can't -- the court reporter is not certifying the
  15   You'll have your chance.                                             15   record. So it's --
  16     The document marked as DZ-13 is the responses and                  16           THE WITNESS: I mean --
  17   objections of defendants Daphna Zekaria, Esquire, and                17           ATTORNEY HEALEY: -- kind of a -- stop.
  18   Sokolski and Zekaria P.C. to plaintiff's first request               18   Daphna, stop.
  19   for production of documents. Again, this was dated                   19           THE WITNESS: No, I don't think she said that
  20   March 29, 2024. I believe we got it on March 30th.                   20   yet really.
  21   Each of the requests for production of documents -- or               21           ATTORNEY LAVER: She has. And I'm --
  22   I'm sorry. Not each of them but most of them asserts                 22           THE WITNESS: No, I mean on the record.
  23   objections.                                                          23           ATTORNEY HEALEY: Stop.
  24     I also note for the record that many of the                        24           ATTORNEY LAVER: I'll point out that I reserve


 27 (Pages 102 to 105)
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                                                            Page 106
   1    my right to question the witness whenever we reconvene.
   2          ATTORNEY LIGHTMAN: And I will talk to Mr.
   3    Healey about reconvening amicably. But I am not going
   4    to go through this a second time. I have asked over a
   5    dozen times for Ms. Zekaria to stop interrupting me.
   6    She refused to do so. So I think the appropriate remedy
   7    is to do it in court, and we will have further
   8    discussion about it --
   9          ATTORNEY HEALEY: Yeah, but like I said, you
  10    weren't exactly innocent in this game. But we can
  11    discuss it amicably --
  12              (Overlapping speakers.)
  13          ATTORNEY HEALEY: -- we have in the past.
  14          ATTORNEY LIGHTMAN: I think it's comparing a
  15    kindergartner versus a high school graduate, and she's a
  16    high school graduate of interruption compared to --
  17          ATTORNEY HEALEY: Yeah, well, we've long
  18    graduated high school --
  19              (Overlapping speakers.)
  20          THE COURT REPORTER: Okay. I'm off the record.
  21

  22    (Whereupon at 2:23 p.m. the deposition was suspended.)
  23

  24




                                                            Page 107
   1                STATEMENT
   2
   3       I, CAYCE KILEY, a Certified Court Reporter and
   4   Notary Public of the State of New Jersey, am unable to
   5   certify that the foregoing is a true and accurate
   6   transcript of the testimony as taken at the place and on
   7   the date hereinbefore set forth due to the unreportable
   8   conduct of the proceedings. The deposition was suspended
   9   due to continuing difficulties with overlapping speakers
  10   despite several warnings. The testimony was transcribed
  11   to the best of my ability given these limitations.
  12
  13
  14
  15
  16   ______________________________
       /s/ Cayce Kiley
  17   Certified Court Reporter
       License No. 30XI00243600
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